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KLAYMAN LAW GROUP

A PROFESSIONAL ASSOCIATION
Larry Klayman, Esq. 7050 W. Palmetto Park Rd Tel: 561-558-5336
Boca Raton, FL, 33433

 

U.S. DISTRICT COURT

 

 

 

 

 

 

 

Via Federal Express NORTHERN DISTRICT OF TEXAS
FILED

August 21, 2020 AUG 2 4 2020

US. District Court for the Northern District of Texas CLERK, U.S. DISTRICT COURT

Office of the Clerk By___________/)

1100 Commerce Street, Room 1452 ae

Dallas, TX 75242 & Qo-me -Y4

Re: Order of the District of Columbia Court of Appeals
To Whom it May Concer:

I am enclosing a copy of an order of the District of Columbia Court of Appeals of June 11, 2020,
which continues to be legally challenged (see enclosed petition for rehearing en banc), which
purports to suspend me from the practice of law in the District of Columbia for 90 days.

Should this honorable Court consider any reciprocal discipline, I respectfully request due process
and a hearing, with right of counsel, as this twelve year old proceeding is not only substantively
flawed as demonstrated by distinguished but and now sadly deceased ethics and constitutional
law scholar Professor Ronald Rotunda, but also time barred and/or subject to laches in many if
not most jurisdictions. Professor Rotunda’s legal opinion is attached to the enclosed petition for
rehearing and I urge the Court to read and digest it, as well as the petition itself, which sets forth
the reasons why reciprocal discipline is not warranted.

Finally, please disclose if you have received any ex parte communications from the District of
Columbia Bar Disciplinary Counsel, who as set forth in my petition is very partisan. If so, please
provide any such ex parte communications to me at the above address.

Please contact me with any questions.

Thank you for your professional courtesy.

Sincerely,

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Larry Klayman, Esq.
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Court of any formal errors so that corrections may be made before the bound
volumes go to press.

DISTRICT OF COLUMBIA COURT OF APPEALS

No. 18-BG-0100 .
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IN RE LARRY KLAYMAN Court oT
us. Ch
A Member of the Bar of the
District of Columbia Court of Appeals Glerk of Court
(Bar Registration No. 334581)
On Report and Recommendation of the
Board on Professional Responsibility
(BDN-48-08)
(Argued September 17, 2019 Decided June 11, 2020)

Stephen A. Bogorad, with whom John Thorpe Richards, Jr., was on the brief,
for respondent.

H. Clay Smith, IIT, Assistant Disciplinary Counsel, with whom Elizabeth A.
Herman, Deputy Disciplinary Counsel, and Jennifer P. Lyman, Senior Assistant

Disciplinary Counsel, were on the brief, for the Office of Disciplinary Counsel.

Before FISHER, THOMPSON, and BECKWITH, Associate Judges.

PER CURIAM: The Board on Professional Responsibility (the “Board’’) has
recommended that this court suspend respondent Larry Klayman from the practice
of law for ninety days based on his representation of three clients in violation of Rule
1.9 (conflict-of-interest) of the District of Columbia Rules of Professional Conduct

(or its Florida equivalent). In this matter, the Office of Disciplinary Counsel

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(“Disciplinary Counsel’) takes exception to the Board’s report and recommendation
on three grounds. First, Disciplinary Counsel challenges the Board’s rejection of the
finding by Hearing Committee Number Nine (the “Hearing Committee”) that Mr.
Klayman violated District of Columbia Rule of Professional Conduct 8.4(d).
Second, Disciplinary Counsel takes exception to the Board’s rejection of the Hearing
Committee’s finding that Mr. Klayman gave false testimony and made false
representations to the Hearing Committee. Finally, Disciplinary Counsel takes
exception to the Board’s recommendation that we impose a ninety-day suspension
without a requirement that Mr. Klayman prove his fitness before being reinstated.

For the reasons that follow, we accept the Board’s recommendations.

The Board adopted most of the factual findings of the Hearing Committee,
including as to the following, a summary regarding the three matters that underlie
this disciplinary matter. Mr. Klayman founded Judicial Watch and served as its in-
house general counsel from its inception in 1994 until 2003. During Mr. Klayman’s
tenure at Judicial Watch, Sandra Cobas served as the director of Judicial Watch’s

Miami Regional Office. She complained to Judicial Watch about her employment
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conditions, alleging that she was subject to a hostile work environment during
several weeks in 2003. As general counsel, Mr. Klayman provided legal advice to
Judicial Watch concerning Cobas’s claims. After both Mr. Klayman and Ms. Cobas
had ended their employment with Judicial Watch, Ms. Cobas filed a complaint
against Judicial Watch in a Florida state court, making the same hostile-work-

environment allegations. The Florida trial court granted a motion to dismiss the case

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(calling the complaint “‘‘silly and vindictive’). Thereafter, without seeking consent
from Judicial Watch, Mr. Klayman entered an appearance on Ms. Cobas’s behalf
and filed a motion requesting that the trial court vacate its order of dismissal. When
the motion was denied, Mr. Klayman filed a notice of appeal on Ms. Cobas’s behalf

and, later, a brief in a Florida appellate court, but the appellate court affirmed the

dismissal.

In 2002, while still employed by Judicial Watch, Mr. Klayman solicited a
donation from Louise Benson as part of a campaign to raise funds to purchase a
building for the organization. Klayman was acting as both chairman and general
counsel of Judicial Watch when he solicited this donation from Benson. Ms. Benson
committed to donate $50,000 to the building fund, and thereafter paid $15,000
towards that pledge. Judicial Watch did not purchase a building. In 2006, after Mr.

Klayman had left Judicial Watch, he and Ms. Benson filed a lawsuit against Judicial
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Watch in federal court, where they were represented by attorney Daniel Dugan.
Ultimately, the federal district court dismissed Ms. Benson’s claims (but not Mr.
Klayman’s claims) on jurisdictional grounds. Shortly thereafter, Ms. Benson sued
Judicial Watch in the Superior Court of the District of Columbia, alleging inter alia
unjust enrichment and seeking a return of her donation. Initially, she was
represented in that suit by Mr. Dugan. Eventually, and without seeking consent from
Judicial Watch, Mr. Klayman entered an appearance in the case as co-counsel for
Ms. Benson. Judicial Watch requested that Klayman withdraw, stating that he
organized the fundraising effort that was at the center of Ms. Benson’s complaint
while he was Judicial Watch’s attorney, and noting that Ms. Benson had identified
him as a fact witness. When Mr. Klayman did not withdraw, Judicial Watch moved
to disqualify him. The motion for disqualification was never decided, as the parties

stipulated to the dismissal of the case.

In 2001, while Mr. Klayman was still employed by Judicial Watch, Judicial
Watch and Peter Paul entered into a representation agreement, and a modification
thereto, under which Judicial Watch agreed to evaluate legal issues emanating from
Mr. Paul’s fundraising activities during the election campaign for the New York
State Senate in 2000 and to represent him in connection with an investigation into

alleged criminal securities law violations and possible civil litigation stemming from
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those fundraising activities. Mr. Klayman drafted, edited, and approved the
representation agreement and modification and authorized the signing of both
documents as Judicial Watch’s chairman and general counsel. Judicial Watch later
represented Mr. Paul in a civil lawsuit brought in California state court. Following
Mr. Klayman’s departure from Judicial Watch, Judicial Watch withdrew from the
representation. Thereafter, Mr. Paul sued Judicial Watch in the United States
District Court for the District of Columbia alleging, among other theories, that
Judicial Watch breached its representation agreement with him. While Mr. Paul
initially was represented by Mr. Dugan, Mr. Klayman entered an appearance in the
case without seeking Judicial Watch’s consent. Judicial Watch moved to disqualify
Mr. Klayman. The district court (the Honorable Royce Lamberth) granted the
motion to disqualify, finding that Mr. Klayman’s representation of Mr. Paul violated
Rule 1.9. The court found that Mr. Klayman was representing the plaintiff “in a
matter directly arising from an agreement he signed in his capacity as [g]eneral
[c]ounsel for the current defendant” and that Mr. Klayman’s representation of Mr.

Paul was “the very type of ‘changing of sides in the matter’ forbidden by Rule 1.9.”

The Hearing Committee found that Mr. Klayman violated Rule 1.9 (or its
Florida equivalent) in all three matters and violated Rule 8.4(d) in the Paul matter.

It also found that Mr. Klayman gave false testimony before the Hearing Committee
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and that his disciplinary history in Florida in connection with an unrelated matter
was another aggravating factor. On the basis of all the foregoing, the Hearing
Committee recommended that Mr. Klayman be suspended for ninety days, with
reinstatement contingent upon a showing of his fitness to practice law. The Board,
by contrast, recommended that Klayman be suspended for ninety days with no
fitness requirement. The Board disagreed with the Hearing Committee’s finding that
Disciplinary Counsel proved a violation of Rule 8.4(d) and with its finding that Mr.

Klayman provided false testimony.

Before this court, neither Mr. Klayman nor Disciplinary Counsel takes issue
with the finding that Mr. Klayman violated Rule 1.9 or its Florida equivalent in the
matters described above, and we therefore need not address that finding. Rather, as
the Board did, we adopt the vast majority of the Hearing Committee’s thorough
analysis. However, as noted above, Disciplinary Counsel takes exception to the
Board’s findings regarding Rule 8.4(d) and false testimony, and to the Board’s
recommended sanction insofar as it omits a fitness requirement. We discuss these

matters below.

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Disciplinary Counsel has the burden of proving a violation of the Rules of
Professional Conduct by clear and convincing evidence. Jn re Speights, 173 A.3d
96, 99 n.3 (D.C. 2017). “When reviewing a recommended disciplinary sanction
against an attorney, this court must accept the Board’s findings of fact if they are
supported by substantial evidence.” In re Sneed, 673 A.2d 591, 593 (D.C. 1996).
The Board “has the power to make its own factual findings” but “must accept the
Hearing Committee’s evidentiary findings, including credibility findings, if they are
supported by substantial evidence in the record.” In re Bradley, 70 A.3d 1189, 1193
(D.C. 2013) (internal quotation marks and emphasis omitted). “Substantial evidence
means enough evidence for a reasonable mind to find sufficient to support the
conclusion reached.” Jn re Thompson, 583 A.2d 1006, 1008 (D.C. 1990). “[T]he
Board and this court owe no deference to the Hearing Committee’s determination of
‘ultimate facts,’ which are really conclusions of law and thus are reviewed de novo.”
Bradley, 70 A.3d at 1194. “Whether [a] respondent gave sanctionable false
testimony before the Hearing Committee is a question of ultimate legal fact that the
Board and this court review de novo.” Id. “[T]his court usually adopts the Board’s
recommended sanction ‘unless to do so would foster a tendency toward inconsistent
dispositions for comparable conduct or would otherwise be unwarranted[.]’” Sneed,

673 A.2d at 593.
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Rule 8.4(d) establishes that it is professional misconduct for a lawyer to
“Tejngage in conduct that seriously interferes with the administration of justice[.]”
Id. For conduct to violate Rule 8.4(d), the conduct must be improper, “bear directly
upon the judicial process,” and “taint the judicial process in more than a de minimis
way.” In re Carter, 11 A.3d 1219, 1224 (D.C. 2011) (internal quotation marks

omitted).

Disciplinary Counsel asserts that the “Board erred by overturning the Hearing
Committee’s conclusion that Mr. Klayman violated Rule 8.4(d) when he appeared
on behalf of [Mr.] Paul with a ‘clear conflict of interest’ and litigated against
disqualification for the second time.” The Board cited a number of reasons for
rejecting the Hearing Committee’s conclusion, including its longstanding “concern[]
about the scope of Rule 8.4(d) in litigation-related disciplinary matters” and its view
that any Rule 8.4(d) violation would be “derivative of the conflict[-]of]-]interest
finding.” But the Board primarily followed this court’s lead in considering the views
of the judge who presided over the litigation in which the disqualification motion
was filed. See In re White, 11 A.3d 1226, 1232 (D.C. 2011). The Board found it

“extra significan[t]” that Judge Lamberth, though he granted the motion to disqualify
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Mr. Klayman, found “‘a legitimate debate about [Mr. Klayman’s] conduct’” and
further found that Mr. Paul was a needy client who could not otherwise have afforded
legal services. In light of the “extraordinary situation” of Judge Lamberth’s
“supportive testimony” to the Hearing Committee, the Board was unable to conclude
that Mr. Klayman’s “behavior sufficiently tainted the judicial process to a degree

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adequate to sustain the Rule 8.4(d) charge.” We accept the Board’s reasoning and

agree that no Rule 8.4(d) violation was proven by clear and convincing evidence.

IV.

Before the Hearing Committee, Mr. Klayman testified, “I believed that Mr.
Dug[]an had given the advice of counsel that I could do this [i.e., represent Ms.
Benson], otherwise he [Dugan] wouldn’t have prepared the pleading” opposing the
motion to disqualify Mr. Klayman based on Rule 1.9.” The Hearing Committee
found that this testimony was false, as was Mr. Klayman’s testimony that Mr. Dugan

“was the one who prepared the response to that disqualification motion.”

 

! The Board noted that in White, by contrast, Judge Lamberth concluded that
White’s conduct had tainted the proceedings; specifically, “[t]he entire litigation was
disrupted and delayed while the [dlistrict [c]ourt dealt with the motion to
disqualify[,]” and the court had to strike an entire deposition because of White’s
presence. /d. at 1232.
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Disciplinary Counsel contends that this court should defer to the Hearing

Committee’s false-testimony findings as supported by substantial record evidence.

The Board found that Disciplinary Counsel failed to prove by clear and
convincing evidence that Mr. Klayman gave false testimony. The Board observed
that the Hearing Committee had relied almost entirely on Mr. Dugan’s testimony
that he did not endorse Mr. Klayman’s appearance in the Benson matter. The Board
reasoned, however, that the forcefulness of Mr. Dugan’s testimony was undercut by
his repeated inability to recall the substance of key conversations that took place
between him and Mr. Klayman eight years earlier. In addition, the Board cited prior,
“apparently inconsistent” statements that Mr. Dugan had made about the matter
(e.g., Mr. Dugan’s apparent statement to Judicial Watch’s counsel, referred to in
Judicial Watch’s memorandum in support of its motion to disqualify, that there was

“no ethical issue arising from’ Mr. Klayman’s representation of Ms. Benson).

The Board’s description of Mr. Dugan’s “diminished recollection” of his
discussions with Mr. Klayman about the latter’s entry of his appearance in the
Benson matter, and about Judicial Watch’s demand that Mr. Klayman withdraw
from the representation, is supported by the record. Further, while the Hearing

Committee reasoned that Mr. Klayman “cannot have inferred” that Mr. Dugan
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blessed his entry of appearance in the Benson matter from Mr. Dugan’s filing of the
opposition to the motion to disqualify since Mr. Dugan “did not write the
opposition[,]” Mr. Dugan acknowledged that his associate may have edited the draft
opposition before it was filed, acknowledged that he (Dugan) did sign the opposition,
and testified that he would not have done so if he had thought that it was frivolous
or thought it violated any ethics or pleadings rules. Additionally, Mr. Klayman’s
testimony was to the effect that the circumstances caused him to believe that Mr.
Dugan had given the advice of counsel. We agree with the Board that there was not
proof by clear and convincing evidence that Mr. Klayman testified dishonestly as to
his belief and recollection. Accordingly, we accept the Board’s conclusion rejecting

the finding that Mr. Klayman testified falsely.

In explaining its sanction recommendation, the Hearing Committee found that
Mr. Klayman’s misconduct was aggravated by his prior discipline in Florida and his
denial of responsibility as to the underlying conduct. He received a public reprimand
in that jurisdiction after he failed to timely pay the full amount ($5,000) he had
agreed to repay to a former client after mediation to resolve a fee dispute. The Board

gave this matter little weight because of Mr. Klayman’s explanation that a serious
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car accident had rendered him unable to work at full capacity and caused him
“significant financial difficulties” that affected his ability to pay. We accept that

evaluation.

We also accept the Board’s conclusion that Disciplinary Counsel did not show
that a fitness requirement is warranted in this case. To be sure, Disciplinary Counsel
proved that Mr. Klayman flagrantly violated Rule 1.9 on three occasions. His
misconduct was not isolated, and, it appears, he acted vindictively and “motivated
by animus toward Judicial Watch” (with which he had developed an acrimonious
relationship). We agree with the Board and the Hearing Committee that his
misconduct was intentional rather than inadvertent or innocent. We also readily
agree with the Board that his misconduct — involving a “switch[ing of] sides” that
strikes at the integrity of the legal profession — deserves the serious sanction of a
ninety-day suspension. Nevertheless, we are not left with “[s]erious doubt” or “real
skepticism” that Mr. Klayman can practice ethically. In re Adams, 191 A.3d 1114,
1120 (D.C. 2018). Accordingly, we decline to impose a fitness requirement. We
do, however, concur with Disciplinary Counsel’s original recommendation that Mr.
Klayman be ordered to complete a continuing legal education (“CLE”) course on

conflicts of interest.

 
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Wherefore, effective thirty days after entry of this order, Mr. Klayman is
suspended from the practice of law. The period of suspension is ninety days,
commencing after he has filed the affidavit required by D.C. Bar R. XI, § 14(g).

Before reinstatement, he must also complete a CLE course on conflicts of interest.’

So ordered.

 

* The pending motion by his counsel to withdraw is hereby granted.
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IN THE DISTRICT OF COLUMBIA COURT OF APPEALS

 

In the Matter of:

LARRY E. KLAYMAN, ESQ.
No. 18-BG-0100
Respondent. Board Docket No. 13-BD-84
BDN: 48-08
A Member of the Bar of the District of
Columbia Court of Appeals
(Bar Registration No. 334581)

 

RESPONDENT LARRY KLAYMAN’S PETITION FOR REHEARING EN BANC OF
COURT?’S ORDER OF JUNE 11, 2020

 

Dated: July 13, 2020 Respectfully submitted,

/s/ Larry Klayman

 

Larry Klayman, Esq.

2020 Pennsylvania Ave NW
Suite 800

Washington DC 20006

Tel: 561-558-5336
leklayman@gmail.com

Respondent Pro Se and Of Record
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RESPONDENT LARRY KLAYMAN’S PETITION FOR REHEARING EN BANC OF
COURT’S ORDER OF JUNE 11, 2020

Respondent, Larry Klayman, hereby respectfully moves for rehearing en banc pursuant to
Rule 35 of the District of Columbia Court of Appeals, and he does so in his capacity as a pro se
litigant and counsel of record. The purpose of this petition for rehearing is to correct certain
material errors under the extraordinary situation and circumstances of this case. Mr. Klayman
had previously moved for rehearing from the panel pursuant to Rule 40 of the District of
Columbia Court of Appeals, but this was denied without any explanation or analysis in a per
curiam opinion dated July 6, 2020. Exhibit 5.

Although it may be natural for individuals, including judges, to be hesitant about
reviewing their own findings, which likely caused the per curiam opinion on July 6, 2020, the
matters at stake here are of “exceptional importance,” Robinson v. United States, 456 A.2d 848,
851 (D.C. 1983), that they simply must be addressed substantively. Full en banc consideration is
therefore necessary. This Petition implicates how the District of Columbia Bar as a whole
renders discipline, which directly affects thousands of attorneys. Simply allowing for gross
misstatements of fact to remain on the record severely prejudices the abilities and reputations of
attorneys who are licensed in the District of Columbia and are necessary to practice law and
make a living.

L INTRODUCTION.

Mr. Larry Klayman (““Respondent” or “Mr. Klayman’) has continuously been a member
in good standing of the District of Columbia Bar (the “Bar’’) since his induction before this
honorable Court on December 22, 1980, nearly forty (40) years ago. He has also continuously
been a member in good standing of The Florida Bar since December 7, 1977, for nearly forty-

three (43) years. See Respondent’s Hearing Exhibits 2, 3, 26 (hereinafter “R’s. Ex.”) Respondent
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is also a former trial attorney in the Antitrust Division of the U.S. Department of Justice, where
he was on the trial team that broke up the AT&T monopoly, as well the founder and former
Chairman of Judicial Watch, a not-for-profit organization that, when Mr. Klayman ran it, sought
to promote ethics in government and the legal profession as a whole. See Trial Transcript
(hereinafter “Trial Tr.”), Jan. 27, 2016 at 324:14-15; see Respondent’s Proposed Findings of
Facts (hereafter “RPFOF’”) at 9§ 84, 88; see also Stipulation of Facts (hereinafter “SOF’”) at 2.
Respondent, following his U.S. Senate candidacy, also founded Freedom Watch, where he is
currently chairman and general counsel.

Respondent conceived of and served as chairman and general counsel since Judicial
Watch’s inception in July of 1994 and remained in that capacity until September of 2003, when
he voluntarily left Judicial Watch, pursuant to the terms of his severance agreement, to run for
the U.S. Senate in Florida. Trial Tr., Jan. 27, 2016 at 329:8-13 at 89.

While campaigning in Florida for his U.S. Senate run, Respondent discovered that the
current president of Judicial Watch, Tom Fitton (hereinafter “Fitton”), along with the other
directors, had fraudulently misrepresented to donors that Judicial Watch was actively pursuing
the purchase of a building with donor funds. RPFOF at §{] 52, 84, SOF at 15. Respondent also
discovered that Judicial Watch, under Fitton’s non-lawyer direction, had misappropriated donor
funds, had abandoned clients such as Peter Paul who in large part wound up doing ten (10) years
in prison as a result, and had vindictively fired and harassed most of the executive staff that
Respondent had hired. RPFOF at § 99. Fitton, again a non-lawyer, who Mr. Klayman near the
time he was leaving had also learned, falsely represented that he had graduated from George
Washington University when Respondent had hired him as his assistant, apparently feared that

persons loyal to Respondent would somehow challenge or undermine his taking control of

 
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Judicial Watch after Respondent left. With regard to the misappropriation of donor funds to buy
a building, to this day Judicial Watch has not bought a building but instead converted the donors’
funds, many of whom have since died (the average age of a donor is about 74 years old), as over
seventeen (17) years has elapsed. See www.judicialwatch.org and Judicial Watch’s 990 tax
return for 2019.

In light of this egregious misconduct after Respondent left, particularly by Fitton, and
Judicial Watch’s Director of Litigation, Paul Orfanedes, who is a licensed District of Columbia
lawyer and is required to know and act ethically, out of necessity and out of conscience, as
testified to by the well-respected and distinguished legal ethics expert Professor Ronald Rotunda,
when Mrs. Benson, Mr. Paul and Mr. Cobas could not afford legal counsel, Respondent assisted
these persons harmed by Fitton, Orfanedes and the “new” non-lawyer director Christopher
Farrell of Judicial Watch. In so doing, Respondent did not intentionally violate any of the
District of Columbia Rules of Professional Conduct of the Bar, nor intentionally violate the
ethics rules of The Florida Bar. Outlining Respondent’s ethical intentions, Professor Rotunda
found: “[f]urther establishing Mr. Klayman’s ethical intentions is the fact that he represented
these aggrieved individuals pro bono and paid court and other costs out of his own pocket simply
to protect the rights of Cobas, Paul, and Benson”. See Exhibit 1 to this Petition, which is the
same as R’s. Ex. 5 (Expert Rotunda’s Opinion Letter of June 3, 2014) at 3.

It is not that Respondent lacks an appreciation or respect for the findings of this
honorable Court or his ethical obligations under the District of Columbia Code of Professional
Conduct which he takes seriously; rather, at the time after he left Judicial Watch, Respondent
thought he was doing the right thing in each instance, particularly as someone who had

conceived of and founded Judicial Watch to in effect be complementary to the Bar. Specifically,

 
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Professor Rotunda, based on the facts of why and how Respondent came to assist three persons,
Mrs. Benson, Mr. Paul, and Mrs. Cobas, gave his expert opinion in a letter which was
subsequently entered into evidence, along with his compelling sworn testimony at Trial Tr., Jan.
27, 2016 at 496:18-607:12 at the hearing before the Ad Hoc Hearing Committee (hereinafter
“AHHC”), attested to following:

I have reviewed the facts of the above referenced bar complaint against Larry
Klayman. It is my expert opinion that in the present situation Mr. Klayman has
not committed any offense that merits discipline. In fact, he, to the best of his
ability, simply pursued an obligation that he knew that he owed to Sandra Cobas,
Peter Paul and Louis Benson.

In applying these principles, it is reasonable and understandable that Mr. Klayman
believed that he had an ethical obligation, in accordance with perhaps the most
important principle of this profession, to zealously and diligently represent his
clients. More importantly, comment 7 observes that ‘neglect of client matters is a
serious violation of the obligation of diligence.’ Nor there is no credible claim that
he used any confidence of Judicial Watch against Judicial Watch.”

(In fact, the specification of charges did not allege any violation of confidences).

Faced with the dilemma of either representing Cobas, Paul and Benson, or
allowing them to lose their legal rights, Mr. Klayman sided with the rights of the
clients, in accordance with Rule 1.3, and thus, justifiably, chose to represent them.
Judicial Watch attempted, and succeeded, at disqualifying Mr. Klayman (in the
Paul case) because it knew no one else would be able to represent Cobas, Paul,
and Benson, and that Judicial Watch would escape liability for the wrongs that
they had caused .. . [t]he situation involving these particular clients provided a
unique set of circumstances, one that the D.C. Rules of Professional Conduct do
not expressly take into account. Given this unprecedented situation, Mr. Klayman,
out of necessity, attempted to correct the wrongs caused by Judicial Watch, so
that he would not violate D.C. RPC Rule 1.3. Further establishing Mr. Klayman’s
ethical intentions is the fact that he represented these aggrieved individuals pro
bono and paid court and other costs out of his own pocket simply to protect the
rights of Cobas, Paul and Benson.
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See Exhibit 1 to this Petition, which is the same as R’s. Ex. 5 (Expert Rotunda’s Opinion Letter
of June 3, 2014) at 1, 2, 3 respectively:.

The purpose of this petition for rehearing en banc is not to relitigate the issues that led to
this honorable Court’s Order of June 11, 2020, but to correct two (2) material errors which are
not supported by clear and convincing evidence, contained therein and on the record, as well as
to bring to the Court’s attention that Respondent has already fulfilled the requirement that he
take a course in conflicts of interests, something which his prior counsel had proffered would
occur but which they neglected to confirm with a supplemental filing to their brief, or make
mention of at oral argument. Thus, Respondent respectfully requests that a modified order reflect
this fact as well. See Exhibit 2 — Proof of Mr. Klayman’s taking of a conflict of interest and
several other ethics courses.

First, as testified to by Professor Rotunda and Mr. Klayman himself, Respondent did not
intentionally violate Rule 1.9 and he did not seek to assist Mrs. Benson, Mr. Paul or Mrs. Cobas
out of vindictiveness toward Judicial Watch. Indeed, as set forth in the record, Respondent
previously had to sue Judicial Watch over Fitton’s and the organization’s vindictiveness toward
Mr. Klayman, which continues to this day. Judicial Watch lost a defamation case brought by
Respondent where the jury awarded both compensatory and punitive damages. See RPFOF at {{
62, 63; see also Trial Tr., Jan. 26, 2016 at 96:2-10. A copy of the jury verdict and court judgment
finding Judicial Watch liable for maliciously defaming Mr. Klayman is attached as Exhibit 3

hereto; see also R’s. Ex. 22, 23. And, there is no credible, much more clear and convincing

 

1 Furthermore, with regard to the statute of limitations issue, in addition to the authority set forth
and cited by Professor Rotunda, Texas also employs and enforces a four-year statute of
limitations for bar disciplinary cases. Gamez v. State Bar of Tex., 765 S.W.2d 827, 833 (Tex.
App.—San Antonio 1988, writ denied)
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evidence in the record, showing that Respondent intentionally violated Rule 1.9, as he thought he
had an ethical and moral obligation at the time to assist Mrs. Benson, Mr. Paul and Mrs. Cobas
when they could not afford counsel to seek redress for the wrongs caused by Fitton and the other
directors of Judicial Watch. Quite apart what he felt was his obligation as the founder of an
ethics organization, Judicial Watch, to protect Mrs. Benson, Mr. Paul and Mrs. Cobas, Mr.
Klayman also felt at the time that he had a right to protect his own interests, as Mr. Paul, having
been abandoned by non-lawyer Fitton and Judicial Watch, had threatened legal action after Mr.
Klayman voluntarily left Judicial Watch to run for the U.S. Senate and did not understand that
Respondent had played no role in the abandonment.

As a result, with complete respect for this Court and the Bar in general, of which
Respondent has been a proud member of for almost forty-one (41) years, Respondent seeks a
rehearing en banc to remove the following findings materially in error from its June 11, 2020
Order, as they will cause damage to his reputation and will undoubtedly be used by adversaries,
including but not limited to Fitton and Judicial Watch, and others, against him and his current
and future clients. In this regard, Respondent respectfully requests that this honorable Court take
judicial notice of ongoing litigation which seeks to remedy more vindictive defamation by Fitton,
calculated to harm Mr. Klayman, whereby convicted felon Roger Stone revealed that Fitton has
been publishing that Respondent was ousted from Judicial Watch because of a sexual harassment
complaint. When put under oath, Fitton had to finally admit that this was not true. See Exhibit 4
— Attached excerpt of Fitton testimony in Klayman v. Fitton, 1:19-cv-20544 (S.D. Fla). Thus, the
opposite is true; Fitton, the non-lawyer who filed the bar complaint over twelve and one-half (12

4) years ago on January 23, 2008, is the one who has been vindictive toward Mr. Klayman. As a
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result, Respondent has had to seek legal redress to protect himself and his family for a concerted
course of conduct that continues to this day.

Specially, these findings of this honorable Court that must therefore respectfully be
modified or withdrawn occur at page 12 of the June 11, 2020 Order:

“His (Mr. Klayman’s) misconduct was not isolated and, it appears, he acted

vindictively and ‘motivated by animus toward Judicial Watch’ (with which he had

developed an acrimonious relationship.) We agree with the Board and the Hearing

Committee that his misconduct was intentional rather than inadvertent or

innocent.”

June 11, 2020 Order at 12.
I. LEGAL STANDARDS OF REVIEW.

As ruled by this honorable Court, “[w]e start with a premise, bottomed on necessity,
that courts generally take care to avoid inadvertent or mistaken orders. Nonetheless, some
instances will arise.” Newton v. United States, 613 A.2d 332, 334 (D.C. 1992). When the need
arises, “we reiterate and rely upon the rationale that a trial court has ‘inherent power to correct its
record so as to reflect the truth and insure that justice be served.’” Jd.; see also Rich v. United
States, 357 A.2d 421, 423 (D.C. 1976) (“...the court’s actions were justified based on its inherent
power to correct its record so as to reflect the truth and insure that justice be served.”).

Il. DISCUSSION.

A. The Findings of an Intentional and Vindictive Violation of Rule 1.9 Require
Either Withdrawal or Modification, As They Are in Error.

Underscoring that the findings that Respondent acted intentionally and vindictively
require withdrawal or modification at a minimum, in the interests of accuracy and fundamental
fairness, is the Court’s own June 11, 2020 Order which is inherently contradictory, suggesting
that the intentional and vindictive findings were simply borrowed, without delving into the

record, from the original recommendation of the AHHC and the Board, which likely also

 
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adopted these “findings” without much, if any, scrutiny of the record. This dovetails with the
panel’s denial without explanation of the previously filed petition for rehearing before it, which,
along with the speed that it issued its order of summary per curiam affirmance creates a strong
presumption that a thorough review of the record was not undertaken. Exhibit 5.

For instance, with regard to the only time that a court or any judicial body ruled that Mr.
Klayman had a conflict of interest, as occurred for the first time in the case concerning Mr. Paul
before Judge Royce C. Lamberth, this honorable Court found in its June 11, 2020 Order:

But the Board primarily followed this court’s (Judge Lamberth’s) lead in

considering the views of the judge who presided over the litigation in which the

disqualification motion was filed. See In re White, 11 A.3rd 1226, 1232 (D.C.

2011). The Board found it “extra-significan(t)” that Judge Lamberth, though he

granted the motion to disqualify Mr. Klayman, found a ‘legitimate debate about

(Mr. Klayman’s) conduct’ and further found that Paul was a needy client who

otherwise could not have afforded legal services. In light of the ‘extraordinary

situation’ of Judge Lamberth’s ‘supportive testimony’ to the Hearing Committee,

the Board was unable to conclude that Mr. Klayman’s ‘behavior sufficiently

tainted the judicial process .. .”

June 11, 2020 Order at 8-9. Importantly, the disqualification ruling of Judge Lamberth was the
first confirmed indication of a conflict of interest and at that point Respondent ceased
representation of not just Mr. Paul, but also ceased any legal efforts on behalf of the other two
victims of Fitton and Judicial Watch, Mrs. Cobas and Mrs. Benson.

Thus, by this Court’s own reasoning, Respondent did not act intentionally and certainly
not vindictively. In this regard, Respondent respectfully requests that this honorable Court
thoroughly review the hearing testimony and exhibits pertinent to not only ethics expert
Professor Rotunda, but also Judge Lamberth and Respondent himself, found at Trial Transcript

pages 496 to 607 for Professor Rotunda, pages 656 to 661 for Judge Lamberth, and pages 318 to

420 for Mr. Klayman.
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B. This Honorable Court Should Clarify What, If Any, Action Out of Necessity
Was Permissible Under the Admittedly “Extraordinary Situation” Thrust
Upon Respondent with Regard to Mrs. Benson, Mr. Paul and Mrs. Cobas.

As set forth in Subsection A., this honorable Court, following Judge Lamberth’s analysis
and lead, ruled that the situation presented to Mr. Klayman over the misconduct of Fitton and the
other Judicial Watch directors an “extraordinary situation.” Legal ethics expert Rotunda came to
the same conclusion in his letter opinion of June 2, 2014, and as reflected in his sworn hearing
testimony, both of which are in evidence. Indeed, Professor Rotunda, one of the top legal experts
in professional ethics in the nation at the time (regrettably he since tragically died), observed:
“t]he situation involving these particular clients (Paul, Benson and Cobas) provided a unique set
of circumstances, one that the D.C. Rules of Professional Conduct do not expressly take into
account. Given this unprecedented situation, Mr. Klayman, out of necessity, attempted to correct
the wrongs caused by Judicial Watch . . .” Exhibit 1 at 3.

In fact, Respondent had suggested to Bar Disciplinary Counsel that both parties obtain an
advisory opinion from the Bar before proceeding further with the complaint first filed by Fitton
on January 23, 2008, over twelve and a half (12 '4) years ago from today, and years after the
alleged ethical infractions, in apparent retaliation for Respondent pursing litigation which
ultimately led to a jury verdict and judgment against Judicial Watch for malicious defamation.
See R’s. Ex. 22, 23 attached hereto as Exhibit 3. Bar Disciplinary Counsel refused to follow this
suggestion.

It thus would seem prudent for this honorable Court to provide guidance to members of
the Bar, particularly those who are practicing public interest law at non-profit ethics

organizations such as Judicial Watch, where donor monies are being misused and

misappropriated, to have direction from this esteemed judicial body over how to proceed under

 
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these sorts of “extraordinary situations and circumstances,” where the former head of an
organization founded to promote ethics finds himself between the proverbial rock and the hard
place and where he or she feels she owes an ethical and moral duty to former clients, donors and
employees.

Moreover, and again as Professor Rotunda pointed out, most jurisdictions would never
have allowed a matter such as this to proceed after a delay by Bar Disciplinary Counsel for over
six (6) years, as the equitable doctrine of laches should otherwise apply. It is not enough that
lawyer Dugan’s memory, however flawed, faded into near oblivion, but during this time period,
evidence is not just forgotten but also lost and misplaced. The Court should thus respectfully
address what is a continuing issue with Bar Disciplinary Counsel, where its counsel frequently
pull old complaints out of their hat for whatever reason, sometimes ironically out of their own
political vindictiveness in this polarized age of Donald Trump, years after the alleged violations
occurred. This Bar should follow the precedent of most other state bars in not allowing this abuse
to continue and the Court should speak clearly about this “extraordinary situation and
circumstances” to provide oversight and guidance to Bar Disciplinary Counsel and its
prosecutors. Indeed, until recently, the Bar’s website, which was modified for some unexplained
reason under its new leadership, pledged:

In this capacity, the Office of Disciplinary Counsel has a dual function: to protect

the public and the courts from unethical conduct by members of the D.C. Bar and

to protect members of the D.C. Bar from unfounded complaints.

Thus, both complainants and members of this distinguished Bar have a recognized right
to be treated fairly and impartially, without regard to a member’s politics or other characteristics,
for lack of better words.

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IV. CONCLUSION.

For all of these compelling reasons, in this extraordinary situation and circumstances, this
honorable Court en banc must respectfully withdraw or modify the materially erroneous findings
with regard to the alleged intentional and vindictive motives of Respondent, which are inaccurate
and which conflict with the Court’s and Judge Lamberth’s own reasoning as set forth clearly in
this esteemed judicial body’s Order of June 11, 2020. This is respectfully required as a matter of
due process and even more importantly, fundamental fairness, as the June 11, 2020 Order, if left
uncorrected, will unduly be used by adversaries, including but not limited to Fitton and Judicial
Watch, and an “unfriendly”2 Bar Disciplinary Counsel, to harm Mr. Klayman and his clients in
other future legal and potentially other ethics proceedings.

Respondent, whatever his strong conservative and legal advocacy and support of our 45th
president, has been a member in good standing of this Bar continuously for nearly forty-one (41)
years, and he should, particularly with regard to a disciplinary proceeding which is now twelve
and one-half (12 %) years old, be accorded serious consideration to have the record corrected.
Moreover, precedent and guidance by the honorable Court is necessary to prevent Bar

Disciplinary Counsel inordinate delay and prejudice to members of this esteemed Bar in the

 

2 Under the new Bar Disciplinary Counsel leadership following the retirement of Wallace Shipp,
the “approach” towards Respondent, Mr. Klayman, changed markedly. During negotiated
discipline in this matter under Wallace Shipp, for instance, the Office of Bar Disciplinary
Counsel not only proposed but also agreed only to a public censure. When that was not accepted
by the AHHC, it proposed a three (3) month suspension with a two (2) month probation.
However, under the new leadership following Mr. Shipp’s retirement, the new Bar Disciplinary
Counsel has apparently delegated authority to Deputy Bar Counsel Julia Porter, herself under
internal ethics review concerning her conduct in a disciplinary proceeding, In re John
Symkowicz, 14-BG-0884, involving John and J.P. Szymkowicz (which lasted over thirteen (13)
years), and Office of Bar Disciplinary Counsel changed its tune. It then, going against the Report
and Recommendation of the Board of Professional Responsibility, wanted a reinstatement
provision to be imposed on Mr. Klayman, which would have effectively removed him from the
practice of law, given that he is almost sixty-nine (69) years old. The Office of Bar Disciplinary
Counsel’s antipathy towards Respondent has continued unabated.

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future, which delay and resulting prejudice is not consistent with other respected bars
throughout the nation. Presently, Bar Disciplinary Counsel and on occasion some Ad Hoc
Hearing chairs and members act with regard to respondents they do not like for apparent political
or other reasons, as if they are above ethics and the law, particularly since the Board of
Professional Responsibility has, without valid legislative basis and authority, shielded them by
giving them immunity.

Respondent respectfully requests oral argument on this important petition for rehearing

en banc, given the extraordinary circumstances at issue.

Dated: July 13, 2020 Respectfully submitted,

/s/ Larry Klayman

 

Larry Klayman, Esq.

2020 Pennsylvania Ave, N.W.
Suite 800

Washington DC 20006

Tel: 561-558-5336
leklayman@gmail.com

Respondent Pro Se and Of Record

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true copy of the foregoing was filed electronically and

served to all parties and counsel of record via the Court’s e-service protocols on July 13, 2020

/s/ Larry Klayman
Larry Klayman, Esq.

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EXHIBIT |

 
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One University Drive Ronald D. Rotunda
ORANGE, CALIFORNIA 92866 The Doy & Dee Henley Chair and
WWW.CHAPMAN.EDU Distinguished Professor of Jurisprudence

Email: rretunda@chapman.edu
(714) 628-2698 + Fax (714) 628-2576
http://www |.chapman.edu/~rrotunda/

 

2 June 2014

Board on Professional Responsibility
430 E Street, NW

Suite 138

Washington, DC 20001

RE: In the matter of Larry Klayman, Esq. (Bar Docket No. 2008-D048)

My name is Ronald D. Rotunda. I am the Doy & Dee Henley Chair and Distinguished
Professor of Jurisprudence at Chapman University, The Dale E. Fowler School of Law, located
in Orange, California, where I teach Professional Responsibility and Constitutional Law. I am a
magna cum laude graduate of Harvard Law School, where I served as a member of the Harvard
Law Review. I later clerked for Judge Walter R. Mansfield of the United States Court of
Appeals for the Second Circuit.

During the course of my legal career, I have practiced law in Washington, D.C., and
served as assistant majority counsel for the Senate Watergate Committee. I am the co-author of
Problems and Materials on Professional Responsibility (Foundation Press, Westbury, N.Y., 12th
ed. 2014), the most widely used legal ethics course book in the United States. It has been the
most widely used since I coauthored the first edition in 1976. In addition, I have authored or
coauthored several other books on legal ethics, including Rotunda & Dzienkowski, Legal Ethics:
The Lawyer’s Deskbook on Professional Responsibility (ABA/Thompson, 1 1" ed. 2013).

In addition to these books, I have written numerous articles on legal ethics, as well as
several books and articles on Constitutional Law, as indicated in the attached resume. State and
federal courts at every level have cited my treatises and articles over 1000 times. From 1980 to
1987, I was a member of the Multistate Professional Examination Committee of the National
Conference of Bar Examiners.

I have reviewed the facts of the above referenced bar complaint against Larry Klayman.
It is my expert opinion that in the present situation Mr. Klayman has not committed any offense
that merits discipline. In fact, he, to the best of his ability, simply pursued an obligation that he
knew that he owed to Sandra Cobas, Peter Paul, and Louise Benson.
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Mr. Klayman, whose organization, Judicial Watch, was once engaged as attorneys for
Paul (it never was engaged for Benson or Cobas), reasonably believed he had an ethical
obligation to represent them, and chose to uphold his duty to these clients. District of Columbia
Rule of Professional Conduct 1.3 states that, “(a) A lawyer shall represent a client zealously and
diligently within the bounds of the law.” Further, Rule 1.3(a) (comment 1) provides guidance on
this issue and the duties of an attorney. “This duty requires the lawyer to pursue a matter on
behalf.of a client despite opposition, obstruction, or personal inconvenience to the lawyer, and to
take whatever lawful and ethical measures are required to vindicate a client’s cause or
endeavor.”

Recall Maples v. Thomas, 132 S.Ct. 912 (2012). In that case, two lawyers working in the
firm of Sullivan & Cromwell entered an appearance for a client. These two associates worked
pro bono and sought state habeas corpus for a defendant sentenced to death. A local Alabama
lawyer moved their admission pro hac vice. Later, the two associates left the firm and their “new
employment disabled them from representing” the defendant (one became a prosecutor and one
moved abroad). Neither associate sought the trial court’s leave to withdraw (which Alabama law
required), nor found anyone else to assume the representation. Moreover, no other Sullivan &
Cromwell lawyer entered an appearance, moved to substitute counsel, or otherwise notified the
court of a need to change the defendant’s representation. When Mr. Klayman left Judicial
Watch, no other lawyer for Judicial Watch stepped up to the plate, because in fact Judicial Watch
had taken actions adverse and harmful to Paul, Benson and Cobas. No lawyer stepped up to the
plate in Maples v. Thomas.

The issue before the U.S. Supreme Court was whether the defendant showed sufficient
“cause” to excuse his procedural default. Justice Ginsburg, for the Court, acknowledged that the
usual rule is that even a negligent lawyer-agent binds the defendant. Here, however, the lawyers
“abandoned” the client without notice and took actions which in fact harmed them thus severing
the lawyer-client relationship and ending the agency relationship. This made the failure to appeal
an “extraordinary circumstance” beyond the client’s control and excused the procedural default.
In the view of Mr. Klayman, he could not abandon the clients.

In applying these principles, it is reasonable and understandable that Mr. Klayman
believed that had an ethical obligation, in accordance with perhaps the most important principle
of this profession, to zealously and diligently represent his clients. More importantly, comment 7
observes that “[n]eglect of client matters is a serious violation of the obligation of diligence.”
Note that there is no credible claim that he used any confidence of Judicial Watch against
Judicial Watch.

One should also consider Mr. Klayman's actions in light of the doctrine of necessity. We
know that judges can decide cases even if they are otherwise disqualified if there is no other
judge available to decide the case. For example, the Court of Claims applied the “rule of
necessity” and held that, under that rule, its judges could hear the case involving their own
salaries. Otherwise, no judge would be available to decide some important legal questions. The
court then turned to the judges’ substantive claim and denied it. Atkins v. United States, 556 F.2d
1028 (Ct.Cl.1977) (per curiam), cert. denied, 434 U.S. 1009 (1978). See also, United States v.
Will, 449 U.S. 200 (1980). The Will Court explained: “The Rule of Necessity had its genesis at

 

 
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least five-and-a-half centuries ago. Its earliest recorded invocation was in 1430, when it was held
that the Chancellor of Oxford could act as judge of a case in which he was a party when there
was no provision for appointment of another judge.”

Faced with the dilemma of either representing Cobra, Paul, and Benson, or allowing them
to lose their legal rights, Mr. Klayman sided with the rights of the clients, in accordance with
Rule 1.3, and thus, justifiably, chose to represent them. Judicial Watch attempted, and succeeded,
at disqualifying Mr. Klayman from the lawsuits because it knew no one else would be able to
represent Cobas, Paul, and Benson, and that Judicial Watch would escape liability for the wrongs
that they had caused. The trial judge did disqualify Mr. Klayman in representing Paul in a new
case after Paul’s previous lawyers withdrew representation because he could not pay them, but
note that the trial judge did not refer this case to the disciplinary authorities for further discipline.
It appears reasonable to believe that the trial judge imposed all the discipline (in the form of a
disqualification) that he believed should be imposed. The situation involving these particular
clients provided a unique set of circumstances, one that the D.C. Rules of Professional Conduct
do not expressly take into account. Given this unprecedented situation, Mr. Klayman, out of
necessity, attempted to correct the wrongs caused by Judicial Watch, so that he would not violate
D.C. RPC Rule 1.3. Further establishing Mr. Klayman’s ethical intentions is the fact that he
represented these aggrieved individuals pro bono and paid court and other costs out of his own
pocket simply to protect the rights of Cobas, Paul, and Benson.

There has been an unusual delay in instituting these proceedings against Mr. Klayman. If
this were civil litigation, Bar Counsel’s Petition would obviously not pass muster under the
District of Columbia statute of limitations. The general statute of limitations for most civil causes
of actions in the District of Columbia is three (3) years. D.C. Code § 12-301 et seq. “The
purpose of statutes of limitation is ‘to bring repose and to bar efforts to enforce stale claims as to
which evidence might be lost or destroyed.’” Medhin v. Hailu, 26 A.3d 307, 313 n.7 (D.C. 2011)
citing Hobson v. District of Columbia, 686 A.2d 194, 198 (D.C. 1996). “By precluding stale
claims, statutes of limitations not only protect against ‘major evidentiary problems which can
seriously undermine the courts’ ability to determine the facts,’ but also protect[] a potential
defendant’s ‘interest in security . . . and in planning for the future without the uncertainty
inherent in potential liability,’ and ‘increase the likelihood that courts will resolve factual issues
fairly and accurately.’” Jd. Granted, the D.C. Rules of Professional Conduct do not expressly
create a statute of limitations, the indisputable fact remains however that these proceedings — if
they should have been brought at all — should have been brought years ago.

That brings up the problem of laches. The doctrine of laches bars untimely claims not
otherwise barred by the statute of limitations. As held by the District of Columbia Court of
Appeals, laches is the principle that “equity will not aid a plaintiff whose unexcused delay, if the
suit were allowed, would be prejudicial to the defendant. It was developed to promote diligence
and accordingly to prevent the enforcement of stale claims.” Beins v. District of Columbia Bd. of
Zoning Adjustment, 572 A.2d 122, 126 (D.C. 1990). Laches applies to bar a claim when a
plaintiff has unreasonably delayed in asserting a claim and there was undue prejudice to the
defendant as a result of the delay. Jeanblanc v. Oliver Carr Co., 1995 U.S. App. LEXIS 19995,
*9 (D.C. Cir. June 21, 1995). Among the inequities that the doctrine of laches protects against is
the loss of or difficulty in resurrecting pertinent evidence. /d.
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Note that Mr. Klayman left Judicial Watch on September 19, 2003. He filed his
appearance on behalf of Ms. Cobas on August 7, 2006 — long after he left Judicial Watch. There
is no claim that he violated any confidences of Judicial Watch or that he earlier represented
Judicial Watch against Ms. Cobas. This Bar Complaint was filed on May 1, 2014. The delay in
filing the complaint was nearly 8 years.

The conduct alleged by Bar Counsel occurred between seven and eight years ago. Given
the substantial delay in bringing the present Petition before the Board, Mr. Klayman’s ability to
defend this case has been detrimentally prejudiced, particularly as recollection and memory fade
over the course of approximately seven to eight years and witnesses and the individuals involved
may be unavailable in support of Mr. Klayman’s defense. In Paul’s case, for instance, he is in
federal prison in Texas. Ms. Cobas has health problems and Ms. Benson is now an 83-year-old
woman. The Bar should not use this unique factual situation to discipline Mr. Klayman given
the equitable doctrine of laches. Such discipline, if the courts uphold it, can ruin his career.

This Petition also raises issues regarding the application of Mr. Klayman's Fifth
Amendment due process rights. Lawyers in attorney discipline cases are entitled to procedural
due process. In Ruffalo, the respondent appealed his disbarment after records of his employments
were brought up into his disciplinary proceedings at a late stage in the proceedings without
giving him the opportunity to respond. In reversing, the U.S. Supreme Court held that the
attorney’s lack of notice that his full employment record would be used in the proceedings
caused a violation of procedural due process that “would never pass muster in any normal civil
or criminal litigation.” In the Matter of John Ruffalo, Jr., 390 U.S. 544, 550 (1968).

In Kelson, the Supreme Court of California similarly held that it was a violation of
procedural due process for the State Bar of California to amend its charges on the basis of Mr.
Kelson’s testimony without having given Mr. Kelson notice of the charge and an opportunity to
respond. Kelson v. State Bar, 17 Cal. 3d. 1, 6 (Cal. 1976). Kelson is directly on point. Judicial
Watch submitted boxes full of voluminous documents to the Bar Counsel’s office in secret, none
of which were ever served to Mr. Klayman until the Petition was filed and then served. It
appears that Judicial Watch and Mr. Klayman have had a parting of the ways that has not been
amicable. One can understand why, even after all these years, a former employer who is very
upset might wish to use the discipline process to punish a former employee, but that does not
mean that the discipline authorities should aid and abet (even unintentionally) what appears to be
a vendetta by one private group against its former lawyer. Discipline, after all, exists to protect
future clients and the public; it does not exist for one party to wreak punishment against another.

Further, these alleged ethical violations have already been dealt with by the Honorable
Royce C. Lamberth in his Memorandum Opinion and Order in Paul v. Judicial Watch, et al., No.
1:07-CV-00279 (D.D.C. filed Feb. 5, 2007). In his Memorandum Opinion, Judge Lamberth
specifically addressed the issue of D.C. Bar Rule 1.9 in regard to disqualifying Mr. Klayman
from continuing to represent Paul in the lawsuit. Judge Lamberth, in his ruling, found that “A
survey of relevant case law in this and other circuits reveals some ambiguity with respect to the
standard for disqualification in the face of a violation of Rule 1.9 (or its equivalent).” Jd. at 6.
Indeed, given the circumstances, and the harm that would be caused to Paul, it was ambiguous
whether Rule 1.9 required Mr. Klayman's disqualification. Judge Lamberth took “note of Paul’s

 
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argument that he will suffer prejudice if Mr. Klayman is disqualified.” Jd. at 14. Judge Lamberth
emphasized that “(t]he essence of the hardship that Paul asserts will result from disqualification
of Mr. Klayman is an inability to obtain alternate counsel for lack of financial resources” and
ultimately apologetically found that “[t]he Court is not unsympathetic to this concern.” Jd at 14.

Immediately following Judge Lamberth’s order, Mr. Klayman ceased all legal
representation of Mr. Paul. No harm was caused by the limited and short-term representation that
Mr. Klayman had provided. In fact, the harm was only done when Judicial Watch ceased
representation of Paul, who as a result has been convicted of the alleged crimes and has since
been incarcerated. Judge Lamberth did not sanction Mr. Klayman, or even report his actions to
the Bar Counsel or the Board. Judge Lamberth recognized that the D.C. RPC was not clear when
disqualification was necessary under Rule 1.9 and thus took no further action.

Given the delay in instituting these proceedings, it appears that Judicial Watch has
targeted Mr. Klayman for selective prosecution. Seldom in the history of the District of
Columbia Bar has someone been the subject of such an investigation for such a technical
violation. To prevail on a defense of selective prosecution, one must simply prove that he was
singled out for prosecution among others similarly situated and that the decision to prosecute was
improperly motivated. See, e.g. United States v. Mangieri, 694 F.2d 1270, 1273 (D.C. Cir. 1982).
Here, Mr. Klayman is being investigated, and even charged, with an alleged ethical violation that
otherwise would have been resolved as a result of Judge’s Lamberth's decision to disqualify Mr.
Klayman from the case.

For the foregoing reasons, it is my expert opinion that this bar complaint should not be
pursued. Mr. Klayman, faced with what Judge Lamberth concluded was an “ambiguous” rule,
understood that Mr. Klayman did not take on a case for personal profit but simply to protect the
rights of those who could otherwise not pursue justice in the court system. Further justifying
dismissal of this bar complaint is the unreasonably delay by the Office of Bar Counsel in
bringing these allegations against Mr. Klayman. Mr. Klayman's defense of these alleged ethical
violations has been severely prejudiced by the length of time that has passed since the events
leading up to the bar complaint took place.

In sum, Mr. Klayman should not be disciplined. He did what he believed he had an
ethical obligation to do by protecting his clients, at his expense.

Sincerely,
Vl. bl? \ Aa

Ronald D. Rotunda
Doy & Dee Henley Chair and Distinguished Professor of
Jurisprudence

 
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RONALD D. ROTUNDA May 2, 2014
Email: rrotunda@chapman.edu Home Page @ http://www |.chapman.edu/~rrotunda
Office Address:

Chapman University

Dale E. Fowler School of Law
Room 406

One University Drive

Orange, CA 92866-1005

@: =(714) 228-2698

Fax: (714) 228-2576

Experience:
Since August, 2008 Doy & DEE HENLEY CHAIR AND DISTINGUISHED
PROFESSOR OF JURISPRUDENCE, CHAPMAN
UNIVERSITY
June 17, 2009 — Jan. 31, COMMISSIONER, Fair Political Practices Commission
2013 a regulatory body of the State of California,
2006- August 2008 UNIVERSITY PROFESSOR AND PROFESSOR OF LAW,
George Mason University
2002-2006 THE GEORGE MASON UNIVERSITY FOUNDATION
PROFESSOR OF LAW, George Mason
University School of Law
Nov. to Dec. 2002 Visiting Scholar, Katholieke Universiteit
Leuven, Faculty of Law, Leuven, Belgium
May 2004 Visiting Lecturer, The Institute for Law and
Economics, Institut fiir Recht und Okonomik,
The University of Hamburg, Germany
June 2004-May 2005 Special Counsel to Department of Defense,
The Pentagon
December 2005 Visiting Lecturer, The Institute for Law and
Economics, Institut fir Recht und Okonomik,
The University of Hamburg, Germany
1993 - 2002 THE ALBERT E. JENNER, JR. PROFESSOR OF LAW,
University of Illinois College of Law
Since 2002 THE ALBERT E. JENNER, JR. PROFESSOR OF LAW,
EMERITUS, University of Illinois College of
Law
Fall, 2001 Visiting Professor, George Mason University

School of Law
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 37 o0f95 PagelD 477
-2-

Ronald D. Rotunda

Spring & Fall 2000 Cato Institute, Washington, D.C.; Senior
Fellow in Constitutional Studies [Senior
Fellow in Constitutional Studies, 2001-2009]

Spring, 1999 Visiting Professor, holding the JOHN S. STONE
ENDOWED CHAIR OF LAW, University of
Alabama School of Law
August 1980 - 1992 Professor of Law, University of Illinois College of
Law
March 1986 Fulbright Professor, Maracaibo and Caracas,

Venezuela, under the auspices of the Embassy
of the United States and the Catholic
University Andres Bello

January — June, 1981 Fulbright Research Scholar, Italy
Spring 1981 Visiting Professor of Law, European
University Institute, Florence, Italy
August 1977 — August, 1980 Associate Professor of Law, University of Illinois
College of Law
August 1974 — August 1977 Assistant Professor of Law, University of Illinois
College of Law
April 1973 - July 1974 Assistant Counsel, U.S. Senate Select Committee on
Presidential Campaign Activities
July 1971 - April, 1973 Associate, Wilmer, Cutler & Pickering Washington,
DC
August 1970 — July 1971 Law Clerk to Judge Walter R. Mansfield, Second
Circuit, New York, N.Y.
Education:
Legal: HARVARD LAW SCHOOL (1967- 1970)
Harvard Law Review, volumes 82 & 83
J.D., 1970 Magna Cum Laude
College: HARVARD COLLEGE (1963- 1967)
A.B., 1967 Magna Cum Laude in Government
Member:

American Law Institute (since 1977); Life Fellow of the American Bar Foundation (since 1989); Life
Fellow of the Illinois Bar Foundation (since 1991); The Board of Editors, The Corporation Law
Review (1978-1985); New York Bar (since 1971); Washington, D.C. Bar and D.C. District Court Bar
(since 1971); Illinois Bar (since 1975); 2™ Circuit Bar (since 1971); Central District of Illinois (since
1990); 7" Circuit (since 1990); U.S. Supreme Court Bar (since 1974); 4" Circuit, since 2009.
Member: American Bar Association, Washington, D.C. Bar Association, Illinois State Bar

 
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 38o0f95 PagelD 478

Ronald D. Rotunda

Association, Seventh Circuit Bar Association; The Multistate Professional Responsibility
Examination Committee of the National Conference of Bar Examiners (1980-1987); AALS, Section
on Professional Responsibility, Chairman Elect (1984-85), Chairman (1985-86); Who’s Who In
America (since 44" Ed.) and various other Who’s Who; American Lawyer Media, L.P., National
Board of Contributors (1990-2000).

Scholarly Influence and Honors:

Symposium, /nterpreting Legal Citations, 29 JOURNAL OF LEGAL STUDIES (part 2) (U. Chicago
Press, Jan. 2000), sought to determine the influence, productivity, and reputation of law
professors. Under various measures, Professor Rotunda scored among the highest in the nation.
E.g., scholarly impact, most-cited law faculty in the United States, 17" (p. 470); reputation of
judges, legal scholars, etc. on Internet, 34h (p. 331); scholar’s non-scholarly reputation, 27" (p.
334); most influential legal treatises since 1978, 7" (p. 405).

In May 2000, American Law Media, publisher of The American Lawyer, the National Law
Journal, and the Legal Times, picked Professor Rotunda as one of the ten most influential Illinois
Lawyers. He was the only academic on the list. He was rated, in 2014, as one of “The 30 Most
Influential Constitutional Law Professors” in the United States.

e 2012, Honored with, THE CHAPMAN UNIVERSITY EXCELLENCE _ IN
SCHOLARLY/CREATIVE WORK AWARD, 2011-2012.

e Appointed UNIVERSITY PROFESSOR, 2006, George Mason University; Appointed
2008, Doy & DEE HENLEY CHAIR AND DISTINGUISHED PROFESSOR OF
JURISPRUDENCE, Chapman University.

e The 2002-2003 New Educational Quality Ranking of U.S. Law Schools (EQR)
ranks Professor Rotunda as the eleventh most cited of all law faculty in the United
States. See http://www. leiterrankings.com/faculty/2002faculty_impact_cites.shtml

e Selected UNIVERSITY SCHOLAR for 1996-1999, University of Illinois.
e 1989, Ross and Helen Workman Research Award.

e 1984, David C. Baum Memorial Research Award.

e 1984, National Institute for Dispute Resolution Award.

e Fall, 1980, appointed Associate, in the Center for Advanced Study, University of
Illinois.
 

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-4- Ronald D. Rotunda

LIST OF PUBLICATIONS:
BOOKS:

PROBLEMS AND MATERIALS ON PROFESSIONAL RESPONSIBILITY (Foundation Press, Mineola,
N.Y., 1976) (with Thomas D. Morgan).

CALIFORNIA SUPPLEMENT TO PROBLEMS AND MATERIALS ON PROFESSIONAL
RESPONSIBILITY (Foundation Press, Mineola, N.Y., 1976) (with Thomas D.
Morgan).

1978 SUPPLEMENT TO PROBLEMS AND MATERIALS ON _ PROFESSIONAL
RESPONSIBILITY (Foundation Press, Mineola, N.Y., 1978) (with Thomas D.
Morgan).

1979 PROBLEMS, CASES AND READINGS SUPPLEMENT TO PROBLEMS AND
MATERIALS ON PROFESSIONAL RESPONSIBILITY (Foundation Press, Mineola, N.Y.,
1979) (with Thomas D. Morgan).

1979 CALIFORNIA RULES SUPPLEMENT TO PROBLEMS AND MATERIALS ON
PROFESSIONAL RESPONSIBILITY (Foundation Press, Mineola, N.Y., 1979) (with
Thomas D. Morgan).

1979 STANDARDS SUPPLEMENT TO PROBLEMS AND MATERIALS ON PROFESSIONAL
RESPONSIBILITY (Foundation Press, Mineola, N.Y., 1979) (with Thomas D.
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PROFESSIONAL RESPONSIBILITY (Foundation Press, Mineola, N.Y., 1980) (with
Thomas D. Morgan).

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Morgan).

CONSTITUTIONAL LAW (West Publishing Co., St. Paul, Minnesota, 1978) (a one volume
treatise on Constitutional Law) (with John E. Nowak and J. Nelson Young).

1978 SUPPLEMENT TO CONSTITUTIONAL LAW (West Publishing Co., St. Paul,
Minnesota, 1978) (with John E. Nowak and J. Nelson Young).

1979-1980 SUPPLEMENT TO CONSTITUTIONAL LAW (West Publishing Co., St.
Paul, Minnesota, 1979) (with John E. Nowak and J. Nelson Young).

1982 SUPPLEMENT TO CONSTITUTIONAL LAW (West Publishing Co., St. Paul,
Minnesota, 1982) (with John E. Nowak and J. Nelson Young).

 
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 400f95 PagelD 480
-5- Ronald D. Rotunda

MODERN CONSTITUTIONAL LAW: CASES & NOTES (West Publishing Co., St. Paul,
Minnesota, 1981).

1981 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (West Publishing Co., St.
Paul, Minnesota, 1981).

1982 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (West Publishing Co., St.
Paul, Minnesota, 1982).

1983 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (West Publishing Co., St.
Paul, Minnesota, 1983).

1984 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (West Publishing Co., St.
Paul, MINNESOTA, 1984).

PROBLEMS AND MATERIALS ON PROFESSIONAL RESPONSIBILITY (Foundation Press, Mineola,
N.Y., 2d ed. 1981) (with Thomas D. Morgan).

1981 STANDARDS SUPPLEMENT TO PROBLEMS AND MATERIALS ON PROFESSIONAL
RESPONSIBILITY (Foundation Press, Mineola, N.Y., 1981) (with Thomas D.
Morgan).

1983 STANDARDS SUPPLEMENT TO PROBLEMS AND MATERIALS ON PROFESSIONAL
RESPONSIBILITY (Foundation Press, Mineola, N.Y., 1983) (with Thomas D.
Morgan).

THE UNITED STATES FEDERAL SYSTEM: LEGAL INTEGRATION IN THE AMERICAN
EXPERIENCE (Giuffré, Milan, 1982) (with Peter Hay).

SIX JUSTICES ON CIVIL RIGHTS (Oceana Publications, Inc., Dobbs Ferry, N.Y., 1983) (edited
and with introduction).

CONSTITUTIONAL LAW (West Publishing Co., St. Paul, Minnesota, 2d ed. 1983) (with John E.
Nowak and J. Nelson Young) (a one volume treatise on Constitutional Law).

PROFESSIONAL RESPONSIBILITY (West Publishing Co., 1984, Black Letter Series).

PROBLEMS AND MATERIALS ON PROFESSIONAL RESPONSIBILITY (Foundation Press, Mineola,
N.Y., 3d ed. 1984) (with Thomas D. Morgan).

1984 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, Mineola, N.Y. 1984) (with Thomas D. Morgan).

1985 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, Mineola, N.Y. 1985) (with Thomas D. Morgan).
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 410f95 PagelD 481
-6- Ronald D. Rotunda

1986 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, Mineola, N.Y. 1986) (with Thomas D. Morgan).

1987 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, Mineola, N.Y. 1987) (with Thomas D. Morgan).

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Minnesota, 2d ed. 1985).

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Paul, Minnesota, 1985).

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Paul, Minnesota, 1987).

1988 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (West Publishing Co., St.
Paul, Minnesota, 1988).

THE POLITICS OF LANGUAGE: LIBERALISM AS WORD AND SYMBOL (University of lowa
Press, 1986) (with an Introduction by Daniel Schorr).

TREATISE ON CONSTITUTIONAL LAW: SUBSTANCE AND PROCEDURE (West Publishing Co.,
St. Paul, Minnesota, 1986) (three volume treatise) (with John E. Nowak and J. Nelson
Young).

1987 POCKET PART TO TREATISE ON CONSTITUTIONAL LAW (West Publishing Co.,
1987) (with John E. Nowak).

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treatise on Constitutional Law) (with John E. Nowak and J. Nelson Young).

 
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-7- Ronald D. Rotunda

1988 POCKET PART TO CONSTITUTIONAL LAW (West Publishing Co., 1988) (with
John E. Nowak).

JOSEPH STORY’S COMMENTARIES ON THE CONSTITUTION (Carolina Academic Press,
Durham, N.C. 1987) (with introduction) (with John E. Nowak).

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Paul, Minnesota, 1989).

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PROBLEMS AND MATERIALS ON PROFESSIONAL RESPONSIBILITY (Foundation Press,
Westbury, N.Y., 5 ed. 1991) (with Thomas D. Morgan).

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Press, Westbury, N.Y. 1991) (with Thomas D. Morgan).

 
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 43 0f95 PagelD 483
-8- Ronald D. Rotunda

1992 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, Westbury, N.Y. 1992) (with Thomas D. Morgan).

1993 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
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Press, Westbury, N.Y. 1995) (with Thomas D. Morgan).

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treatise on Constitutional Law) (with John E. Nowak).

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Black Letter Series).

TREATISE ON CONSTITUTIONAL LAW: SUBSTANCE AND PROCEDURE (West Publishing Co.,
St. Paul, Minnesota, 2d ed. 1992) (four volume treatise) (with John E. Nowak).

1993 POCKET PART TO CONSTITUTIONAL LAW (West Publishing Co., St. Paul,
Minnesota, 1993) (with John E. Nowak).

1994 POCKET PART TO CONSTITUTIONAL LAW (West Publishing Co., St. Paul,
Minnesota, 1994) (with John E. Nowak).

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Minnesota, 1995) (with John E. Nowak).

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Minnesota, 1996) (with John E. Nowak).

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Minnesota, 1997) (with John E. Nowak).

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Minnesota, 1998) (with John E. Nowak).

1999 POCKET PART TO CONSTITUTIONAL LAW (West Group, St. Paul, Minnesota,
1999) (with John E. Nowak).

MODERN CONSTITUTIONAL LAW: CASES AND NOTES (West Publishing Co., St. Paul,
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Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 44 0f95 PagelD 484
-9- Ronald D. Rotunda

1993 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (West Publishing Co., St.
Paul, Minnesota, 1993).

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St. Paul, Minnesota, 1994).

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CONSTITUTIONAL Law (West Publishing Co., St. Paul, Minnesota, 5" ed. 1995) (a one volume
treatise on Constitutional Law) (with John E. Nowak).

PROBLEMS AND MATERIALS ON PROFESSIONAL RESPONSIBILITY (Foundation Press,
Westbury, N.Y., 6" ed. 1995) (with Thomas D. Morgan).

1996 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, Westbury, N.Y. 1996) (with Thomas D. Morgan).

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Press, Westbury, N.Y. 1997) (with Thomas D. Morgan).

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Press, Westbury, N.Y. 1998) (with Thomas D. Morgan).

1999 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, New York, N.Y. 1999) (with Thomas D. Morgan).

2000 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, New York, N.Y. 2000) (with Thomas D. Morgan).

PROFESSIONAL RESPONSIBILITY (West Publishing Co., St. Paul, Minnesota, 4 ed. 1995,
Black Letter Series) (with computer disk).

Treatise on Constitutional Law: Substance and Procedure —- EXPANDED CD ROM EDITION
(West Publishing Co., St. Paul, Minnesota, 1995) (with John E. Nowak).

MODERN CONSTITUTIONAL LAW: CASES AND NOTES (West Publishing Co., St. Paul,
Minnesota, 5" ed. 1997).

1997 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (West Publishing Co., St.
Paul, Minnesota, 1997).
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 45o0f95 PagelD 485
-10- Ronald D. Rotunda

1998 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (West Publishing Co., St.
Paul, Minnesota, 1998).

1999 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (West Publishing Co., St.
Paul, Minnesota, 1999).

TREATISE ON CONSTITUTIONAL LAW: SUBSTANCE AND PROCEDURE (West Group, St. Paul,
Minnesota, 3d ed. 1999) (five volume treatise) (with John E. Nowak).

2000 POCKET PART TO TREATISE ON CONSTITUTIONAL LAW: SUBSTANCE AND
PROCEDURE (West Group, St. Paul, Minnesota, 2000) (with John E. Nowak).

2001 POCKET PART TO TREATISE ON CONSTITUTIONAL LAW: SUBSTANCE AND
PROCEDURE (West Group, St. Paul, Minnesota, 2001) (with John E. Nowak).

2002 POCKET PART TO TREATISE ON CONSTITUTIONAL LAW: SUBSTANCE AND
PROCEDURE (West Group, St. Paul, Minnesota, 2002) (with John E. Nowak).

2003 POCKET PART TO TREATISE ON CONSTITUTIONAL LAW: SUBSTANCE AND
PROCEDURE (West Group, St. Paul, Minnesota, 2003) (with John E. Nowak).

2004 POCKET PART TO TREATISE ON CONSTITUTIONAL LAW: SUBSTANCE AND
PROCEDURE (West Group, St. Paul, Minnesota, 2004) (with John E. Nowak).

2005 POCKET PART TO TREATISE ON CONSTITUTIONAL LAW: SUBSTANCE AND
PROCEDURE (West Group, St. Paul, Minnesota, 2005) (with John E. Nowak).

2006 POCKET PART TO TREATISE ON CONSTITUTIONAL LAW: SUBSTANCE AND
PROCEDURE (West Group, St. Paul, Minnesota, 2006) (with John E. Nowak).

1H: THEO] AL Ot BAH [AMERICAN CONSTITUTIONAL LAW: INDIVIDUAL LIBERTIES

AND PROCEDURE; published in Korean] (Korean Constitutional Court, 1999) (with
John E. Nowak).

PROBLEMS AND MATERIALS ON PROFESSIONAL RESPONSIBILITY (Foundation Press,
Westbury, NY, 7" ed. 2000) (with Thomas D. Morgan).

2001 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, New York, N.Y. 2001) (with Thomas D. Morgan).

2002 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, New York, N.Y. 2002) (with Thomas D. Morgan).

2003 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, New York, N.Y. 2003) (with Thomas D. Morgan).
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 46 o0f95 PagelD 486
-l1- Ronald D. Rotunda

LEGAL ETHICS: THE LAWYER’S DESKBOOK ON PROFESSIONAL RESPONSIBILITY (ABA-West
Group, St. Paul, Minn. 2000) (a Treatise on legal ethics, jointly published by the ABA
and West Group, a division of Thomson Publishing).

MODERN CONSTITUTIONAL LAW: CASES AND NOTES (West Group, St. Paul, Minnesota, 6%
ed. 2000).

2000 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (West Group, St. Paul,
Minnesota, 6" ed. 2000).

2001 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (West Group, St. Paul,
Minnesota, 6" ed. 2001).

2002 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (West Group, St. Paul,
Minnesota, 6" ed. 2002).

CONSTITUTIONAL LAW (West Group, St. Paul, Minnesota, 6"" ed. 2000) (a one volume treatise
on Constitutional Law) (with John E. Nowak).

PROFESSIONAL RESPONSIBILITY (West Group, St. Paul, Minnesota, 5" ed. 2001, Black Letter
Series).

PROFESSIONAL RESPONSIBILITY: A STUDENT’S GUIDE (ABA-West Group, St. Paul,
Minnesota, 2001).

LEGAL ETHICS: THE LAWYER’S DESKBOOK ON PROFESSIONAL RESPONSIBILITY (ABA-West
Group, St. Paul, Minn., 24 ed. 2002) (a Treatise on legal ethics, jointly published by the
ABA and West Group, a division of Thomson Publishing).

PROFESSIONAL RESPONSIBILITY: A STUDENT’S GUIDE (ABA-West Group, St. Paul,
Minnesota, 2” ed. 2002).

PROFESSIONAL RESPONSIBILITY (West Group, St. Paul, Minnesota, 6" ed. 2002, Black Letter
Series).

LEGAL ETHICS IN A NUTSHELL (West Group, St. Paul, Minnesota, 1° ed. 2003, Nutshell
Series) (with Michael I. Krauss).

MODERN CONSTITUTIONAL LAW: CASES AND NOTES (Thomson/West, St. Paul, Minnesota,
7th ed. 2003).

2003 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (Thomson/West, St. Paul,
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Minnesota, 2004).

 
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-12- Ronald D. Rotunda

2005 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (Thomson/West, St. Paul,
Minnesota, 2005).

2006 SUPPLEMENT TO MODERN CONSTITUTIONAL LAW (Thomson/West, St. Paul,
Minnesota, 2006).

PROBLEMS AND MATERIALS ON PROFESSIONAL RESPONSIBILITY (Foundation Press, New
York, N.Y., 8th ed. 2003) (with Thomas D. Morgan).

2004 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, New York, N.Y. 2004) (with Thomas D. Morgan).

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treatise on Constitutional Law) (with John E. Nowak).

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(with John E. Nowak).

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Thomson/West, St. Paul, Minn., 3" ed. 2005) (a Treatise on legal ethics, jointly
published by the ABA and Thomson/West) (with John S. Dzienkowski).

PROFESSIONAL RESPONSIBILITY: A STUDENT’S GUIDE (ABA-Thomson/West, St. Paul, Minn.,
3 ed. 2005) (a Treatise on legal ethics, jointly published by the ABA and
Thomson/West) (with John S. Dzienkowski).

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(with John E. Nowak).

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Series) (with Michael I. Krauss).

PROBLEMS AND MATERIALS ON PROFESSIONAL RESPONSIBILITY (Foundation Press, New
York, N.Y., 9" ed. 2006) (with Thomas D. Morgan).

2006 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, New York, N.Y. 2006) (with Thomas D. Morgan).

2007 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, New York, N.Y. 2007) (with Thomas D. Morgan).
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 48 0f95 PagelD 488

-13- Ronald D. Rotunda

2008 SELECTED STANDARDS ON PROFESSIONAL RESPONSIBILITY (Foundation
Press, New York, N.Y. 2008) (with Thomas D. Morgan).

LEGAL ETHICS: THE LAWYER’S DESKBOOK ON PROFESSIONAL RESPONSIBILITY (ABA-
Thomson/West, St. Paul, Minn., 4" ed. 2006) (a Treatise on legal ethics, jointly
published by the ABA and Thomson/West) (with John S. Dzienkowski).

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4" ed. 2006) (a Treatise on legal ethics, jointly published by the ABA and
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Minnesota, 2008).

TREATISE ON CONSTITUTIONAL LAW: SUBSTANCE AND PROCEDURE (Thomson/West, St.
Paul, Minnesota, 4th ed. 2007) (first two volumes of six volume treatise) (with John E.
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Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 750f95 PagelD 515
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Other Activities:

March-April, 1984, Expert Witness for State of Nebraska on Legal Ethics at the Impeachment
Trial of Nebraska Attorney General Paul L. Douglas (tried before the State Supreme
Court; the first impeachment trial in nearly a century).

July 1985, Assistant Chief Counsel, State of Alaska, Senate Impeachment Inquiry of Governor
William Sheffield, (presented before the Alaskan Senate).

Speaker at various ABA sponsored conferences on Legal Ethics; Speaker at AALS workshop
on Legal Ethics; Speaker on ABA videotape series, “Dilemmas in Legal Ethics.”

Interviewed at various times on Radio and Television shows, such as MacNeil/Lehrer News
Hour, Firing Line, CNN News, CNN Burden of Proof, ABC’s Nightline, National
Public Radio, News Hour with Jim Lehrer, Fox News, etc.

1985--1986, Reporter for Illinois Judicial Conference, Committee on Judicial Ethics.

1981-1986, Radio commentator (weekly comments on legal issues in the news), WILL-AM
Public Radio.

1986-87, Reporter of Illinois State Bar Association Committee on Professionalism.

1987-2000, Member of Consultant Group of American Law Institute’s RESTATEMENT OF THE
LAW GOVERNING LAWYERS.

1986-1994, Consultant, Administrative Conference of the United States (on various issues
relating to conflicts of interest and legal ethics).

1989-1992, Member, Bar Admissions Committee of the Association of American Law Schools.

1990-1991, Member, Joint Illinois State Bar Association & Chicago Bar Association
Committee on Professional Conduct.

1991-1997, Member, American Bar Association Standing Committee on Professional
Discipline.
CHAIR, Subcommittee on Model Rules Review (1992-1997). [The subcommittee that I
chaired drafted the MODEL RULES FOR LAWYER DISCIPLINARY ENFORCEMENT
that the ABA House of Delegates approved on August 11, 1993.]

1992, Member, Illinois State Bar Association [ISBA] Special Committee on Professionalism;
CHAIR, Subcommittee on Celebration of the Legal Profession.

Spring 1993, Constitutional Law Adviser, SUPREME NATIONAL COUNCIL OF CAMBODIA. I
traveled to Cambodia and worked with officials of UNTAC (the United Nations
Transitional Authority in Cambodia) and Cambodian political leaders, who were
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 760f95 PagelD 516
-4] - Ronald D. Rotunda

charged with drafting a new Constitution to govern that nation after the United Nations
troop withdrawal.

1994-1997, LIAISON, ABA Standing Committee on Ethics and Professional Responsibility.

1994-1996, Member, Illinois State Bar Association [ISBA] Standing Committee on the
Attorney Registration and Disciplinary Commission.

Winter 1996, Constitutional Law Adviser, SUPREME CONSTITUTIONAL COURT OF MOLDOVA.

Under the auspices of the United States Agency for International Development, I
consulted with the six-member Supreme Constitutional Court of Moldova in
connection with that Court’s efforts to create an independent judiciary. The Court
came into existence on January 1, 1996.

Spring 1996, Consultant, CHAMBER OF ADVOCATES, of the CZECH REPUBLIC.

Under the auspices of the United States Agency for International Development, I
spent the month of May 1996, in Prague, drafting Rules of Professional
Responsibility for all lawyers in the Czech Republic. I also drafted the first Bar
Examination on Professional Responsibility, and consulted with the Czech
Supreme Court in connection with the Court’s proposed Rules of Judicial Ethics
and the efforts of the Court to create an independent judiciary.

Consulted with (and traveled to) various counties on constitutional and judicial issues (e.g.,
Romania, Moldova, Ukraine, Cambodia) in connection with their move to democracy.

1997-1999, Special Counsel, Office of Independent Counsel (Whitewater Investigation).

Lecturer on issues relating to Constitutional Law, Federalism, Nation-Building, and the Legal
Profession, throughout the United States as well as Canada, Cambodia, Czech Republic,
England, Italy, Mexico, Moldova, Romania, Scotland, Turkey, Ukraine, and Venezuela.

1998-2002, Member, ADVISORY COUNCIL TO ETHICS 2000, the ABA Commission considering
revisions to the ABA Model Rules of Professional Conduct.

2000-2002, Member, ADVISORY BOARD TO THE INTERNATIONAL BROTHERHOOD OF TEAMSTERS
(This Board was charged with removing any remaining vestiges of organized crime to
influence the Union, its officers, or its members.) This Board was part of “Project
RISE” (“Respect, Integrity, Strength, Ethics”).

2001-2008, Member, Editorial Board, CATO SUPREME COURT REVIEW.

2005-2006, Member of the Task Force on Judicial Functions of the Commission on Virginia
Courts in the 21“ Century: To Benefit All, to Exclude None

 
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 77 of95 PagelD 517
- 42 - Ronald D. Rotunda

July, 2007, Riga, Latvia, International Judicial Conference hosted by the United States
Embassy, the Supreme Court of Latvia, and the Latvian Ministry of Justice. I was one
of the main speakers along with Justice Samuel Alito, the President of Latvia, the Prime
Minister of Latvia, the Chief Justice of Latvia, and the Minister of Justice of Latvia

Since 1994, Member, Publications Board of the ABA Center for Professional Responsibility;
vice chair, 1997-2001.

Since 1996, Member, Executive Committee of the Professional Responsibility, Legal Ethics &
Legal Education Practice Group of the Federalist Society; Chair-elect, 1999; Chair,
2000

Since 2003, Member, Advisory Board, the Center for Judicial Process, an interdisciplinary
research center (an interdisciplinary research center connected to Albany Law School
studying courts and judges)

Since 2012, Distinguished International Research Fellow at the World Engagement Institute, a
non-profit, multidisciplinary and academically-based non-governmental organization
with the mission to facilitate professional global engagement for international
development and poverty reduction, http://www.weinstitute.org/fellows.html

Since 2014, Associate Editor of the Editorial Board, THE INTERNATIONAL JOURNAL OF
SUSTAINABLE HUMAN SECURITY (IJSHS), a peer-reviewed publication of the World
Engagement Institute (WEI)

Since 2014, Member, Board of Directors of the Harvard Law School Association of Orange
County

Since 2014, Member, Editorial Board of THE JOURNAL OF LEGAL EDUCATION (2014 to 2016).
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 78 of95 PagelD 518

EXHIBIT 2
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 7

Dof95 PagelD 519

UNIFORM CERTIFICATE OF ATTENDANCE

This certificate should be filed with the appropriate MCLE Board(s) or

Commission(s) within 30 days of activity

Sponsor: District of Columbia Bar

 

Activity Title: Identifying and Dealing with Ethical Conflicts of Interest

Date: 10/12/2017

Location: On-Demand/Webcast

 

State Activity Number: (for those states

 

 

designating program numbers)
This program is eligible for a total of 2.9  CLEcredit hours based on a 60-minute hour
29 CLE credit hours based on a 60-minute hour
Of this total 0.0 CLE credit hour(s) of this program is/are devoted to

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instruction in ethics/professipnalism (Based on 50-Min.Hr.)

Note: Introductory remarks, keynote addresses, business meetings, breaks, rect
be included in the computation of credit.

eptions, etc. are not to

 

TO BE COMPLETED BY ATTORNEY

By signing below, I certify that I attended the activity described above ai
claim 4, 9 CLE credit hours, including 4-0 Ethics credits.

hd am entitled to

 

 

 

 

LO Bar Lda. 3358)
Membership, Registration of Supreme Court Number
: +/eés/20
Atfémey Signature Date

Lresterch of Clim bia

State where credits are to be registered

Note: Complete a certificate for each state in which you are required to file.

Rules for CLE in some

states require the provider to file attendance with the regulator as a service to lawyers. Please confirm
jurisdictional reporting requirements with the provider or state regulator.

Acknowledged By:
Taamis WM Leon,

Sponsor Representative

 
Case 3:20-mc-00043-B _Document 14 _ Filed 08/24/20 aT PEN 95 NCE” 520

UNIFORM CERTIFICATE OF ATTENDAN

This certificate should be filed with the appropriate MCLE Board(s) or

Commission(s) within 30 days of activity
Sponsor: District of Columbia Bar
Activity Title: Ethics and Pro Bono: Remaining Ethical While Doing Good
Date: 7/9/2019
Location: Washington, D.C. / On-Demand
State Activity Number:

(for those states designating program numbers)

This program is eligible for a total of 2.0 CLE credit hours based oh a 60-minute hour

2.0 CLE credit hours based oh a 50-minute hour

 

    

Of this total! 2.0 CLE credit hour(s) of this program is/are devoted to
instruction in ethics/professionalism (Based on 60-Min Hr )

2.0 CLE credit hour(s) of this program is/are devoted to
instruction in ethics/profpssionalism (Based on 50-Min Hr }

Note: Introductory remarks, keynote addresses, business meetings, breaks,

ptions, etc. are not to
be included in the computation of credit.

TO BE COMPLETED BY ATTORNEY

By signing below, I certify that I attended the activity described above and am entitled to
claim _“2- CLE credit hours, including 2 Ethics credits,

ZL ow E/hyot Klay mar FL bar # 2 62Z0

¢ (Print) Membership, Registration or Supreme Court Number

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Signature
/ Florida

State where credits are to be registered

Note: Complete a certificate for each state in which you are required to file. Rules for CLE in some

states require the provider to file attendance with the regulator as a service to lawyers. Please confirm
jurisdictional reporting requirements with the provider or state regulator.

Acknowledged Bv:

 
6/25/2020 Gmail - PA CLE CERTIFICATE #41440-556500-473
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 8Lof95 PagelID 521

 

 

mM Gmail Dina| James <daj142182@gmail.com>
PA CLE CERTIFICATE #41440-556500-473

1 message

ACCESS MCLE <email@accessmcle.com> Mon, Jul 10, 2017 at 10:55 AM

To: daj142182@gmail.com
CERTIFICATE OF COMPLETION FOR PENNSYLVANIA CLE

PROVIDER NAME: ACCESS MCLE, LLC
PROVIDER INFO: PA CLE BOARD ACCREDITED PROVIDER #9310

 

Access MCLE Activity #473 -
ETHICS: Representation from Start to Finish

COMPLETION DATE: 7/10/2017 1:55p EST
STUDY FORMAT: Distance Learning (Online)

CLE CREDIT: 1 Hour Ethics

Attorney Name: KLAYMAN, LARRY
PA Lawyer ID: 54628

By electronic signature below, | have certified that | completed the activity described above and am entitled to claim the
amount of CLE credits listed.

Signature: LARRY KLAYMAN Date: 7/10/2017

 

 

REMINDER TO PENNSYLVANIA ATTORNEYS:

Within 30 days, Access MCLE will automatically report to the Supreme Court of Pennsylvania CLE Board your completion
of this course.

You may verify compieted CLE credits online at: https://Awww.pacle.org/crc/MyPACLE. asp
For additional information please contact your CERTIFYING PROVIDER:

ACCESS MCLE, LLC

5150 Fair Oaks Bivd, Ste 101-1614
Carmichael, CA 95608

Tel: (916) 550-6253

Fax: (916) 550-6888
www.accessmcle.com

This message was sent to daj142182@gmail.com

 

 

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6/25/2020 Gmail - PA CLE CERTIFICATE #41440-556438-552
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 8

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mM Gmail Dina|James <daj142182@gmail.com>

 

PA CLE CERTIFICATE #41440-556438-552

1 message

 

ACCESS MCLE <email@accessmcie.com>
To: daj142182@gmail.com

CERTIFICATE OF COMPLETION FOR PENNSYLVANIA CLE

PROVIDER NAME: ACCESS MCLE, LLC
PROVIDER INFO: PA CLE BOARD ACCREDITED PROVIDER #9310

 

Access MCLE Activity #552 -
ETHICS: Rules Governing Client Relationships

COMPLETION DATE: 7/7/2017 4:24p EST
STUDY FORMAT: Distance Learning (Online)

CLE CREDIT: 1 Hour Ethics

Attorney Name: KLAYMAN, LARRY
PA Lawyer ID: 54628

Fri, Jul 7, 2017 at 1:24 PM

By electronic signature below, | have certified that | completed the activity described above and am entitled to claim the

amount of CLE credits listed.

Signature: LARRY KLAYMAN Date: 7/7/2017

 

 

REMINDER TO PENNSYLVANIA ATTORNEYS:

Within 30 days, Access MCLE will automatically report to the Supreme Court of PennsyNania CLE Board your completion

of this course.

You may verify completed CLE credits online at: https:/www.pacle.org/crc/MyPACLE.asp
For additional information please contact your CERTIFYING PROVIDER:

ACCESS MCLE, LLC

5150 Fair Oaks Bivd, Ste 101-161
Carmichael, CA 95608

Tel: (916) 550-6253

Fax: (916) 550-6888
www.accessmcle.com

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6/25/2020 Gmail - PA CLE CERTIFICATE #41440-556286-553

Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 8]

mM Gmail Dina

B Of 95 PagelD 523

James <daj142182@gmail.com>

 

PA CLE CERTIFICATE #41440-556286-553

1 message

 

ACCESS MCLE <email@accessmcle.com>
To: daj142182@gmail.com

CERTIFICATE OF COMPLETION FOR PENNSYLVANIA CLE

PROVIDER NAME: ACCESS MCLE, LLC
PROVIDER INFO: PA CLE BOARD ACCREDITED PROVIDER #9310

 

Access MCLE Activity #553 -
ETHICS: Conflicts of Interest for the Business Attorney

COMPLETION DATE: 7/6/2017 8:12p EST
STUDY FORMAT: Distance Learning (Online)

CLE CREDIT: 1 Hour Ethics

Attorney Name: KLAYMAN, LARRY
PA Lawyer ID: 54628

By electronic signature below, | have certified that | completed the activity described abo
amount of CLE credits listed.

Signature: LARRY KLAYMAN Date: 7/6/2017

 

 

REMINDER TO PENNSYLVANIA ATTORNEYS:

Within 30 days, Access MCLE will automatically report to the Supreme Court of Pennsylv
of this course.

You may verify completed CLE credits online at: https://www.pacle.org/crc/MyPACLE.as¢
For additional information piease contact your CERTIFYING PROVIDER:

ACCESS MCLE, LLC

5150 Fair Oaks Bivd, Ste 101-161
Carmichael, CA 95608

Tel: (916) 550-6253

Fax: (916) 550-6888
www.accessmcle.com

 

This message was sent to daj142182@gmail.com

Thu, Jul 6, 2017 at 5:13 PM

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rania CLE Board your completion

 

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Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 840f95 PagelD 524

EXHIBIT 3

 
" * CaSe 1:13-cv-20610-CMA Document 156 Entered on FLSD Docket 06/11/2014 Page 1 of 2
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 850f95 PagelID 525

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 13-20610-CIV-ALTONAGA
LARRY KLAYMAN,

Plaintiff,
V.

JUDICIAL WATCH, INC.,

Defendant.

 

Verdict Form
We, the jury, unanimously find as follows:

1. Do you find from a preponderance of the evidence that Plaintiff Larry
Klayman was defamed by Defendant Judicial Watch?

Yes KX No

(If your answer is “yes,” proceed to the next question. If the answer is “no,” sign
the verdict form.)

2. Do you find from a preponderance of the evidence that Plaintiff Larry
Klayman should be awarded compensatory damages against Defendant Judicial

Watch?
Yes No

If your answer is “Yes,”
oo
in what amount: $ \S6 68. ,

(If your answer is “yes,” skip question 3 and proceed to question 4. If your answer
is “no,” proceed to question 3.).
 

© CaSe 1:13-cv-20610-CMA Document 156 Entered on FLSD Docket 06/11/2014 Page 2 of 2
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 860f95 PagelID 526

3. Do you find from a preponderance of the evidence that Plaintiff Larry
Klayman should be awarded nominal damages against Defendant Judicial Watch?

Yes No KM

If your answer is “Yes,”

in what amount:$ W [ A

(Proceed to question 4.).

4. Under the circumstances of this case, state whether you find by clear and
convincing evidence that punitive damages are warranted against Defendant
Judicial Watch:

Yes S. No

If your answer is “Yes,”

cm
in what amount: $ 2 $1 Cee .

So say we all this (©) day of June, 2014.

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_ \Foreperson -

 
Case 1:13-cv-20610-CMA Document 157 Entered on FLSD Docket 06/11/2014 Page 1 of 1
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 87 o0f95 PagelD 527

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 13-20610-CIV-ALTONAGA
LARRY KLAYMAN,

Plaintiff,
V.

JUDICIAL WATCH, INC.,

Defendant.

 

FINAL JUDGMENT

THIS CAUSE came for trial before the Court and a jury, United States District Judge,
Cecilia M. Altonaga, presiding, and the issues having been duly tried and the jury having duly

rendered its verdict on June 10, 2014, it is

ORDERED AND ADJUDGED that Judgment is entered in favor of Plaintiff, Larry
Klayman, and against Defendant, Judicial Watch Inc., in the amount of $156,000.00 for
compensatory damages and $25,000.00 for punitive damages, totaling $181,000.00, for which
sum let execution issue. Requests for costs and attorneys’ fees shall not be submitted until after
any post-trial motions are decided or an appeal is concluded, whichever occurs later. This
judgment shall bear interest at the rate as prescribed by 28 U.S.C. section 1961, and shall be
enforceable as prescribed by 28 U.S.C. sections 2001-2007, 28 U.S.C. sections 3001-3308, and
Federal Rule of Civil Procedure 69(a). The Clerk shall mark this case closed.

DONE AND ORDERED in Chambers at Miami, Florida, this 11th day of June, 2014.

(oe W. Abbas

CECILIA M. ALTONAGA’
UNITED STATES DISTRICT JUDGE

cc: counsel of record
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 88o0f95 PagelD 528

EXHIBIT 4
Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 890f95 PagelID 529

 

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Transcript of Thomas J. Fitton

Date: June 6, 2019
Case: Klayman -v- Fitton

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‘Case 3:20-mc-00043-B Document 14 Filed 08/24/20 Page 90 of 95 PagelD 530
Transcript of Thomas J. Fitton 1 (1 to 4)

Conducted on June 6, 2019

 

 

1 3
1 IN THE UNITED STATES DISTRICT COURT 1 APPEARANCES
2 FOR THE SOUTHERN DISTRICT OF FLORIDA 2
3 3 ON BEHALF OF THE PLAINTIFF PRO SE:
4 LARRY KLAYMAN, * 4 LARRY KLAYMAN, ESQUIRE
5 Plaintiff, * 5 Klayman Law Group, P.A.
6 vs. * Civil Action :6 Suite 345
7 THOMAS FITTON, x No. 1:19-cv-20544 7 202@ Pennsylvania Avenue, Northwest
8 Defendant. * ‘8 Washington, D.C. 20006
9 9 (310) 595-8088
1@ 1@
1 WW
12 Videotaped Deposition of THOMAS J. FITTON 12
13 Washington, D.C. 13° ON BEHALF OF THE DEFENDANT:
14 Thursday, June 6, 2019 14 RICHARD W. DRISCOLL, ESQUIRE
15 3:06 p.m. ‘15 Oriscoll & Seltzer
16 16 Suite 610
17 17 30Q@ North Washington Street
18 ‘18 Alexandria, Virginia 22314
19 Job No.: 247643 19 (783) 822-5001
2@ Pages 1 - 92 20
21 Reported by: Vicki L. Forman 21
22 22
23 23
24 24
25 25
fe cece eeeee ene ee nee ~ 5 ee ne Worn as nen on arn
1 Videotaped Deposition of THOMAS J. FITTON, 4 ON BEHALF OF THE DEFENDANT:
2 held at the offices of: 2 KATIE M. MERWIN, ESQUIRE
3 3 Cole, Scott & Kissane, P.A.
4 Planet Depos 4 Suite 120
5 Suite 958 15 222 Lakeview Avenue
6 11@@ Connecticut Avenue, Northwest 'g West Palm Beach, Florida 33401
7 Washington, D.C. 20036 ly (561) 383-9206
8 (888) 433-3767 ‘8 (Present via Telephone.)
9 ‘g
12 1e
"1 WW
12 Pursuant to agreement, before Vicki L. “12. ALSO PRESENT: Joannis Arsenis, Videographer
13. Forman, Court Reporter and Notary Public in and 13
14 for the District of Columbia. 14
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Transcript of Thomas J. Fitton

11 (41 to 44)

Conducted on June 6, 2019

 

MR. KLAYMAN: Certify it.

Q So as President of Judicial Watch you
would have known for sure that this Complaint had
been filed, correct?

MR. DRISCOLL: Objection to form.

A Well, the press release indicates it was
filed and I recall we sued about the raid, yes.

Q And you gave interviews about suing in the
raid, correct, in the media?

10 A Idon't remember.

11 Q Turn to the last page, page five.

12 The Complaint is signed by James F

13 Peterson, correct?

14. A His name is on the last page of the

15 Complaint as a signatory.

16 Q He is anattorney at Judicial Watch,

17 correct?

18 A Yes.

19 Q Now, Mr. Peterson had contact with Roger
20 Stone over the issue of the raid on his house, did
21 he not?

22 +A Not that I'm aware of.

23 MR. DRISCOLL: Objection to form.

24 Q You're saying you don't know one way or
25 the other?

Oot NA MN PWN

 

A I don't believe he has. I said I would
know if he had.

Q How would you know if you couldn't even
identify the Complaint?

A Another abusive harassing question.

MR. DRISCOLL: It's a foundation question.
You can go ahead and answer it.
How would you know if he had contacted

Roger Stone?
10 MR. KLAYMAN: Or if Roger Stone contacted
11 him.
12 A Isit privileged?
13 MR. DRISCOLL: That's an interesting
14 question. The fact of the communication would not
15 be. The contents of it would be.
16 A How I would know is my question of whether
17 it's privileged or not.
18 MR. DRISCOLL: No, I'm going to allow you
19 to answer that one.
20 A How! would know about what my attorneys
21 are doing or Judicial Watch's attorneys are doing?
22 MR. DRISCOLL: Yeah, and you're not
23 disclosing a communication. You're just
24 describing a process.

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25 A Typically that type of communication would

41

42

25 lawsuit. That does not apply in this context.

" 43
1 have been disclosed to me.

2  Q But you don't know for sure that

3. Mr. Peterson didn't have contact with Roger Stone?
4 MR. DRISCOLL: Objection to form.
5 A I'mconfident there was no such contact.
‘6 Q You have told Mr. Peterson in the past,
7 have you not, that 1 was ousted from Judicial
8 Watch because of a sexual harassment complaint?
9 MR. DRISCOLL: Objection to form.
‘10 Mr. Peterson is an in-house counsel and I'm going
‘11 to direct the witness not to answer. That's an

12 attorney-client privilege.

13 MR. KLAYMAN: Certify it.

14 Q So you don't know whether or not

15 Mr. Peterson repeating what you had told him then
16 republished that to Roger Stone?

17 MR. DRISCOLL: The communications between
18 an in-house counsel and the President of the

19 corporation relating to legal advice and
‘20 assistance are privileged. He can't answer the
21 question about the contents of the communication
‘22 or derivative questions that would disclose the
23 content of the communication.

24 MR. KLAYMAN: That's the crux of the

: 44
dl MR. DRISCOLL: That doesn't waive the
2 privilege.
3 Q Are you saying that you never told anyone
‘4 at Judicial Watch that I was ousted because of a
-5 sexual harassment complaint?
6 MR. DRISCOLL: Anyone other than the
'7 attorneys?
8 MR. KLAYMAN: Anyone.
9 MR.DRISCOLL: No, I can't allow him to
10 answer that question.
‘11 Q Are you saying that you never told anyone
12 that I was -- regardless -- let's take attorneys
13 out of it.
14 Have you ever -- you have told other
_15 people in addition to -- strike that.

16 You have told other people excluding
17 attorneys that I was ousted from Judicial Watch
-18 because of a sexual harassment complaint?
19 A You have to ask the question again.

20 MR. KLAYMAN: Read it back, please.
21. «A Please.

22. =MR.KLAYMAN: Let me rephrase it.
23 Q I'm taking attorneys out of this question.

24 I'm saying you have told others who aren't
25 attorneys over the course of the last 16 years

 

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Transcript of Thomas J. Fitton

12 (45 to 48)

Conducted on June 6, 2019

 

 

 

 

 

 

 

 

 

 

45 : 47
1 since I left Judicial Watch that I was ousted 1 Judicial Watch was motivated by an employee's
2 because of a sexual harassment complaint? ‘2 sexual harassment complaint," do you see that?
3 A No, because that's not true. You weren't 3 A Yeah.
4 ousted as a result of a sexual harassment 4 Q Again, that statement does not say that
5 complaint. 5 younever spoke with Roger Stone, just that you've
6 Q After I sued you in this particular case ‘6 never published that particular issue, correct?
7 has anyone -- have you or anyone at Judicial Watch 7 A It says what it says.
8 or your counsel tried to contact Roger Stone? 8  Q And then it states "Any statement by Roger
9 MR. DRISCOLL: Objection to form. The -9 Stone regarding Klayman was made without my
10 question invades the attorney-client privilege and 10 knowledge or information and therefore I did not
11 the attorney work product. I direct the witness 11 intend and could not intend to harm Klayman or his
12 not to answer. 12 reputation," do you see that?
13 MR. KLAYMAN: Certify it. 13. A Yes.
14 Madam court reporter, have a page in the 14 Q Now, you're not saying in that statement
15 front where you have all the certified questions 15 that you didn't communicate with Roger Stone.
16 and where you can find them to make it easy for 16 You're saying that you didn't know that he was
17 the Magistrate Judge. Thank you. 17 going to republish anything about me, correct?
18 Q Now, I turn your attention back to your 18 MR. DRISCOLL: Objection to form. The
19 affidavit which is -- -19 document speaks for itself.
20 =A Exhibit 3. 20 A The document speaks for itself.
21 Q Exhibit 3. Turn your attention to 21 Q If you don't want to explain it that's
22 paragraph seven where it says "I have no '22 fine.
23 recollection of ever having any communication with 23 =A You're mischaracterizing it.
24 Roger Stone," do you see that? ‘24 Q Ido agree. It speaks for itself and
25 A Uh-huh. 25 there's a lot of loopholes in it.
46 48
1 Q Now, it doesn't say you didn't have a Al MR. DRISCOLL: Why don't you just ask him
2 communication with Roger Stone. It just says that :2 the question. Did he ever --
3 youhave no recollection of having one, correct? 3 MR. KLAYMAN: I will ask the questions
4 A That's correct. 4 that I want to ask, Mr. --
5 Q Do you remember during the Clinton years 5 MR. DRISCOLL: All right.
6 that witnesses would always come in and say we 6 Q I want to turn to paragraph eight.
7 have no specific recollection and we would contest 7 Do you see the statements in the last
8 that? 8 sentence of paragraph eight where it says "To
9 MR. DRISCOLL: Just ask your question, 9 support his claim Judicial Watch submitted
10 Larry. '10 evidence demonstrating that Klayman was forced to
11. Q So you can't say categorically that you 11 resign due to inappropriate conduct" and you list
12 haven't had communications with Roger Stone? 12 three examples of your alleged inappropriate
13 You're just saying you don't have a recollection 13 conduct, do you see that?
14 of ever having it, correct? 14. A Yeah.
15 A I think the statement speaks for itself. 15 Q Now, you have in the last 16 years told
16 Q Youcould have said I have never 16 many people, and I'm excluding any attorneys,
17 communicated with Roger Stone, correct, if that's 17 exactly what is written in this affidavit and
18 what you were trying to say, that you never had 18 which you swore to under oath?
19 any contact? 19 MR. DRISCOLL: I'm going to object to the
20 A The statement speaks for itself. 20 question and direct the witness not to answer that
21  Q Then you state in the next sentence "I 21 question to the extent it's related to the other
22 have never published, uttered or implied to Roger 22 lawsuit that is currently pending in the U.S.
23 Stone that Klayman was the subject of a sexual 23 District Court for the District of Columbia, Case
24 harassment complaint during his employment by 24 Number 06-cv-670.
25 Judicial Watch or that his resignation from 25 MR. KLAYMAN: That's not a basis to tell
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EXHIBIT 5
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District of Columbta

 

Court of Appeals F |] LE D

 

 

 

 

 

 

 

JUL 06 2020

No. 18-BG-100 DISTRICT OF COLUMBIA

COURT OF APPEALS
IN RE LARRY KLAYMAN
A Suspended Member of the Bar of the
District of Columbia
Court of Appeals
Bar Registration No. 334581 BDN: 48-08

BEFORE: Fisher, Thompson, and Beckwith, Associate Judges.

ORDER
On consideration of respondent’s petition for rehearing, it is

ORDERED that respondent’s petition for rehearing is denied.

PER CURIAM

Copies e-served to:
Larry E. Klayman

James T. Phalen, Esquire
Executive Attorney

Board on Professional Responsibility

Hamilton P. Fox, III, Esquire
Disciplinary Counsel

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